         Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 1 of 54




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
                                                                  :
UNITED STATES OF AMERICA                                          :
                                                                  :   22 Cr. 673 (LAK)
                  v.                                              :
                                                                  :
SAMUEL BANKMAN-FRIED,                                             :
                                                                  :
                                     Defendant.                   :
----------------------------------------------------------------- x


                                   EXPERT WITNESS DISCLOSURE
                                     JOSEPH M. PIMBLEY, PH.D.

I.        Background & Qualifications

     1. I am currently affiliated with PF2 Securities, a litigation consulting firm. My expertise
        includes the review and analysis of financial risk management; review and creation of
        financial and mathematical models for purposes of risk assessment or valuation of
        derivatives, structured products, and other investments; credit risk and credit rating
        models; economic capital calculations; portfolio risk/return calculations; other cash flow
        or business optimization applications; consulting and expert testimony in connection with
        legal disputes involving structured products, credit ratings, derivatives, bond insurance,
        and securities trading; providing advisory opinions and compliance review of investment
        policies and their execution for the portfolios of endowments and other entities including
        corporate Treasuries, colleges/universities, insurance companies, and non-profits.

     2. I have been active in the financial profession for more than 30 years in areas including
        derivatives and securities trading, portfolio and risk management, trading systems, credit
        ratings, structured finance, banking, investment advisory, consulting, financial litigation,
        and teaching.

     3. I have published more than seventy articles in financial and economic journals and
        publications, provided more than seventy presentations for financial professionals on
        various topics in the capital markets, co-authored three books and contributed chapters to
        two others.

     4. In addition to my published work, I have extensive experience managing risk and
        information technology systems, including financial databases and associated code layer,
        analyzing cashflows within transactions and across firms, and valuing illiquid securities
        and derivatives and have done consulting work as well as provided expert reports in
        various legal disputes and other litigation related to such activities and instruments.
         Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 2 of 54




      5. I hold a Ph.D. in Theoretical Physics (1985), an M.S. in Physics (1981), and a B.S. in
         Physics (1980) (summa cum laude and minor in Mathematics) from Rensselaer
         Polytechnic Institute. I am a past member of the Editorial Board of the GARP (Global
         Association of Risk Professionals) Risk Professional, and have served on the Advisory
         Board of the Polytechnic University Center for Finance & Technology. I am also a
         member of Sigma Pi Sigma, the National Physics Honor Society, and was elected a
         Senior Member of the Institute of Electrical and Electronic Engineers (IEEE). I am a past
         member of Sigma Xi (scientific research society), the IEEE Election Devices Society, the
         Society for Industrial and Applied Mathematics (SIAM), and the American Association
         for the Advancement of Science (AAAS).

      6. I am a past Member of the Executive Advisory Board for the Master’s Degree
         “Quantitative Finance and Risk Analytics” program of the Lally School of Management
         at the Rensselaer Polytechnic Institute. I am also a past Member of the Strategic
         Advisory Board of ARMA International, LLC, an infrastructure engineering firm. I am
         also a past member of the Board of Directors of SOLVE, a financial technology firm.

      7. I am the Editor of the Journal of Derivatives, a widely known and respected publication
         for financial professionals and academics.

      8. My current curriculum vitae is attached as Appendix A. Appendix B lists all publications
         I have authored in the prior ten years. Appendix C lists the cases in which I have testified
         as an expert by deposition over the prior four years. I have not testified as an expert at
         trial over the prior four years.

      9. I have no financial interest in the outcome of this case. I am being compensated for my
         time and services on an hourly basis at the billing rate of $720 per hour with
         reimbursement for reasonable expenses. My compensation in this case is not in any way
         contingent or based on the opinions presented herein or on the outcome of these legal
         proceedings.

II.       Scope and Summary of Opinions

         If called as a witness, I will testify to the following:

      10. I understand that the FTX Debtors provided a snapshot of FTX’s Amazon Web Services
          database as of November 2022 (the AWS database) as part of discovery in this case. I
          used database queries to extract data from the AWS database related to the line of credit
          (LOC) FTX provided to Alameda and Alameda-affiliated entities for the time period
          October 2021 to November 2022. Specifically, I extracted data showing the amount of
          the LOC that was used by Alameda and its affiliated entities over that time period. I
          provide this database extract as a graph in Appendix D. I provide also in Appendix E the
          database queries I employed to extract this in-use LOC data from the AWS database.
          Appendix F shows the database data responsive to the queries in Appendix E.

      11. The extracted data from the AWS database shows that Alameda’s usage of its line of
          credit fluctuated between approximately $1 billion and $3 billion between October 7,



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          Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 3 of 54




          2021 and September 18, 2022, and decreased for a substantial portion of the month of
          June 2022.

       12. I have extracted from the “balances” table of the AWS database the following:

                  a. The sum of the fair values expressed in US dollars of balances in all accounts
                     excluding the accounts of Alameda and FTX and limited to the “coins” USD
                     (US dollar), BTC (Bitcoin), ETH (Ethereum), and USDT (Tether). This result
                     is $5,842,162,373.

                  b. The portion of the sum in (a) preceding in which the accounts have
                     spot_margin_enabled equals TRUE or spot_margin_lending_enabled equals
                     TRUE or show futures activity (as denoted by non-zero net_size field in the
                     “positions” table). This result is $4,539,524,208. I append these results of (a)
                     and (b) in pie chart format in Appendix G. I provide also in Appendix H the
                     database queries I employed to extract the (a) and (b) results. Appendix I
                     shows the accounts of Alameda and FTX that were excluded in the queries in
                     Appendix H.

                  c. The sum of the fair values expressed in US dollars of balances in all accounts
                     excluding the accounts of Alameda and FTX aggregated over all “coins.”
                     This result is $8,943,675,162.

                  d. The portion of the sum in (c) preceding in which the accounts have
                     spot_margin_enabled equals TRUE or spot_margin_lending_enabled equals
                     TRUE or show futures activity (as denoted by non-zero net_size field in the
                     “positions” table). This result is $6,910,615,317. I append these results of (c)
                     and (d) in pie chart format in Appendix J. I provide also in Appendix K the
                     database queries I employed to extract the (c) and (d) results.

       13. This extracted balances data as of November 2022 shows that the majority (65%) of the
           non-Alameda / non-FTX balances are concentrated in just four coins (USD, BTC, ETH,
           and USDT) relative to the hundreds of coins defined within the AWS database. Whether
           for just the four coins or for all coins, more than 75% of the non-Alameda / non-FTX
           balances arise from accounts that have spot_margin_enabled equals TRUE or
           spot_margin_lending_enabled equals TRUE or show futures activity.

III.       Basis of Opinions

       14. My opinions offered herein are based on my own academic and professional education,
           training, skill and knowledge regarding common and prevailing methods of computer
           coding and data retrieval of financial industry firms. I base my opinions also on my
           review of the AWS database and the portions of the codebase produced in discovery.

                                                               Respectfully submitted,

                                                               ___________________
                                                               Joseph M. Pimbley, Ph.D.


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      Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 4 of 54




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       Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 5 of 54




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       Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 6 of 54




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Estimation,”' chapter in ):&3(*) .,3&164(*77.3, 76 , !3K=;@ )D7@F;57 !3>>  
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                    GBA@D7CG7EF ;H7D757@F3DF;5>7E3D75;F7647>AI 
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Put Option,” *6.:&8.:*7 3>>  
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;@H;F76>75FGD78AD 8-339&1.70&3&,*2*38A@H7@F;A@ '7I2AD= &3D5:
2017; also Industry Webcast “Rapid Monte Carlo Simulation,” May 2016.
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Problem”, invited lecture for    '3E:H;>>7 'AH7?47D  
J. M. Pimbley and S. R. Lindo, “Flight Simulator for Banking,” invited PRMIA Webcast,
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        7@9;@77D;@93@6E7?;5A@6G5FADB:KE;5E -:;E>;EF;E3H3;>34>7GBA@D7CG7EF 

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      Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 9 of 54




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     Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 10 of 54




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 J. M. Pimbley, “-7EF;@93@6&3BB;@93@?B;D;53>J7D5;E7AG@63DK8AD
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 J. M. Pimbley, “88;5;7@F+AGF;@7E8AD(%AEE3>5G>3F;A@E”, 
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 J. M. Pimbley and G. Phillips, “-:7&K7D+G>;@93@6;FE%;?;F3F;A@E,”
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 J. M. Pimbley, “,;?B>7ADD7>3F76;@A?;3>)ADF8A>;A%AEE;EFD;4GF;A@”,
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 J. M. Pimbley, “- /3E;57=D76;F)ADF8A>;A%AEE;EFD;4GF;A@”, 
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 J. M. Pimbley and G. Phillips, “;JF:7/"1+76G5;@9&3@;BG>3F;A@;@F:7
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 J. M. Pimbley, “7D@AG>>;7:3H;AD3>;@3@57AF:0DA@9”, 
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 J. M. Pimbley, “*G3@F;F3F;H7;@3@57A@3,?3DFB:A@7–""”, 9&38
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 J. M. Pimbley, “,;J D73F+73EA@E2(.,:AG>6%73D@FAA67”, 
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 J. M. Pimbley, “+3F;@9E+78AD?>3EF;@9F:7GE;@7EE&A67>”, 
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 J. M. Pimbley, “7?A@7F;L3F;A@3@6F:7+73>/3>G7A8&A@7K”, 
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 J. M. Pimbley, “Today’s Pressing Problem in Quantitative Finance”, 
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 J. M. Pimbley, “+;E=G>FGD70:3F&3FF7DE&AEF”, 9&38
 *675*(8.:*7 (5FA47D  
 J. M. Pimbley, “&3F:7?3F;53>;@3@57 &A67>E Simulation and Today’s
 )D7EE;@9)DA4>7?”, chapter in !98.&17.35*6&8.437*7*&6(- 
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 J. M. Pimbley, “!AIFA75A?737FF7D+;E=&3@397D.@;F;@9
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 # & Pimbley, “,?3DF;@3@57*G3@F;F3F;H7;@3@57A@3,?3DF):A@7”,
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 J. M. Pimbley, “7FF7D&73EGD7?7@FE8AD%(CG;FK)7D8AD?3@57”, 
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 J. M. Pimbley, “-:;@=;@A67 2AG@9+;E=@3>KEF”, 9&38
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 J. M. Pimbley, “+3B;6&A@F73D>A,;?G>3F;A@”, 9&38
 *675*(8.:*7 &3K  
 J. M. Pimbley, “Quant’s View of Negative Interest Rates, Part: II”, 
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 # & );?4>ey, “3@=;@93E;5E:;@33@6"FE>3D?;@9')%E”, 
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 J. M. Pimbley, “%;CG;6;FK%;47D3F;A@8AD&GFG3>G@6E”, 9&38
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 J. M. Pimbley, “!AIFAEE7EE3@6&3@397D76;F+;E=”, 9&38
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 J. M. Pimbley, “&GFG3>EE:AG>6@AFAH7D BDA?;E7A@>A3@>;CG;6;FK”,
 6*).8+19< #3@G3DK  
 J. M. Pimbley, “Before #BigData, Let’s Confront #BadData”, 9&38
 *675*(8.:*7 'AH7?47D  
 J. M. Pimbley, “&ADF9397&36@7EE”, 9&38*675*(8.:*7 (5FA47D
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 J. M. Pimbley, “>;9:F,;?G>3FAD8AD;@3@5;3>+;E=”, 9&38
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 J. M. Pimbley, “Greece, Black Holes and Banks’ Ankles”, 9&38
 *675*(8.:*7 #G>K  
 J. M. Pimbley, “-:7 D73F7EF >A43>;@3@5;3>+;E=”, 9&38
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 J. M. Pimbley, “75;E;A@E%;8773F:A@03>>,FD77F”, 9&38
 *675*(8.:*7 &3K  
 # & );?4>7K “A Quant’s View of Negative Interest Rates” 9&38
 *675*(8.:*7 BD;>  
 # & );?4>7K “Fixing Banking –/A>5=7D+G>7A@,F7DA;6E”, 9&38
 *675*(8.:*7 74DG3DK  
 # & );?4>7K “Fixing Banking –Part II” 9&38*675*(8.:*7 
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 # & );?4>7K “Fixing Banking –Part I” 9&38*675*(8.:*7 
 757?47D  


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    Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 13 of 54




     # & );?4>7K “A Bailout Plan to Increase Systemic Risk?” 9&38
     *675*(8.:*7 'AH7?47D  
     # & );?4>7K “Book Excerpt: Banking on Failure” 9&38
     *675*(8.:*7 (5FA47D  
     # & );?4>7K “How to Build Disastrous Financial Models” 9&38
     *675*(8.:*7 ,7BF7?47D  
     # & );?4>7K “Banks and Political Bargains” 9&38*675*(8.:*7 
     G9GEF  
     # & );?4>7K “Are Systemically Important Banks Junk Credits?” 
     9&38*675*(8.:*7 #G>K  
     # & );?4>7K “Monetary Policy Risk? Deflation!” 9&38
     *675*(8.:*7 #G@7  
     J. M. Pimbley, “Benford’s Law and the Risk of Financial Fraud”, .70
     64+*77.43&1   &3K  
       &57H;FF Pimbley and J. M. Pimbley, “,;?B>;8K;@9JBD7EE;A@8AD
     F:7>3EE;53>A@6)D;57 2;7>6+7>3F;A@E:;B”, .7064+*77.43&1   
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  Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 17 of 54




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         G          O         GF9M9HFHG   G6FGI6GKK6GLM   GFG6IGL         HMFNFKLIM
        IJ          O         GF9N9HFHG   G6FML6HJO6FFN   GFM6LHK         HMFNFKLIO
        LM          O         GF9O9HFHG   G6GOH6IGF6NKK   GGO6HIG         HMFNFKLJG
       GFF          O        GF9GF9HFHG   G6GGM6JKI6ONK   GGG6MJK         HMFNFKLJI
       GII          O        GF9GG9HFHG   G6FNI6JOI6JGL   GFN6IJO         HMFNFKLJK
       GLL          O        GF9GH9HFHG   G6FNL6JNK6IJK   GFN6LJO         HMFNFKLJM
       GOO          O        GF9GI9HFHG   G6GGK6FLI6OIF   GGG6KFL         HMFNFKLJO
       HIH          O        GF9GJ9HFHG   G6FKM6OIN6LKI   GFK6MOJ         HMFNFKLKG
       HLK          O        GF9GK9HFHG   G6HFG6KMO6ILG   GHF6GKN         HMFNFKLKI
       HON          O        GF9GL9HFHG   G6GLO6FIL6HLK   GGL6OFJ         HMFNFKLKK
       IIG          O        GF9GM9HFHG   G6FKN6NMH6MFG   GFK6NNM         HMFNFKLKM
       ILJ          O        GF9GN9HFHG   G6FOI6LMM6JOH   GFO6ILN         HMFNFKLKO
       IOM          O        GF9GO9HFHG   G6GIF6KMH6FLL   GGI6FKM         HMFNFKLLG
       JIF          O        GF9HF9HFHG   G6FMM6GHN6HOH   GFM6MGI         HMFNFKLLI
       JLI          O        GF9HG9HFHG   G6GOO6KLO6HLJ   GGO6OKM         HMFNFKLLK
       JOL          O        GF9HH9HFHG   G6FLI6MKI6HFJ   GFL6IMK         HMFNFKLLM
       KHO          O        GF9HI9HFHG   G6FLL6NIH6FJN   GFL6LNI         HMFNFKLLO
       KLH          O        GF9HJ9HFHG   G6GIF6LNG6JFH   GGI6FLN         HMFNFKLMG
       KOK          O        GF9HK9HFHG   G6GKL6NJF6OMO   GGK6LNJ         HMFNFKLMI
       LHN          O        GF9HL9HFHG   G6GHF6OOO6OON   GGH6GFF         HMFNFKLMK
       LLG          O        GF9HM9HFHG   G6FNI6HLG6GFK   GFN6IHL         HMFNFKLMM
       MFI          O        GF9HN9HFHG   G6FMO6LMI6OOK   GFM6OLM         HMFNFKLMO
       MIM          O        GF9HO9HFHG   G6GGF6GJL6GHK   GGG6FGK         HMFNFKLNG
       MLI          O        GF9IF9HFHG   G6GGO6GJL6IIM   GGG6OGK         HMFNFKLNI
       NFJ          O        GF9IG9HFHG   G6GHF6LIM6KLH   GGH6FLJ         HMFNFKLNK
       NIM          O         GG9G9HFHG   G6GHG6JLG6GHJ   GGH6GJL         HMFNFKLNM
       NLK          O         GG9H9HFHG   G6FLG6IJK6MLG   GFL6GIK         HMFNFKLNO
       OFF          O         GG9I9HFHG   G6FGK6NKK6GOI   GFG6KNL         HMFNFKLOG
       OIN          O         GG9J9HFHG   G6GJL6MLL6MHM   GGJ6LMM         HMFNFKLOI
       OMF          O         GG9K9HFHG   G6FNH6OGG6MLF   GFN6HOG         HMFNFKLOK
      GFFF          O         GG9L9HFHG   G6GNG6MMF6OKM   GGN6GMM         HMFNFKLOM
      GFHO          O         GG9M9HFHG   G6FNL6KIG6MJM   GFN6LKI         HMFNFKLOO
      GFLJ          O         GG9N9HFHG   G6GIM6FIL6GJF   GGI6MFJ         HMFNFKMFG
      GGFM          O         GG9O9HFHG   G6GJH6NHH6FGI   GGJ6HNH         HMFNFKMFI
      GGJH          O        GG9GF9HFHG   G6FLO6MNM6NKN   GFL6OMO         HMFNFKMFK
      GGLM          O        GG9GG9HFHG   G6FJM6KJO6LIF   GFJ6MKK         HMFNFKMFM
      GHFN          O        GG9GH9HFHG   G6GHH6NHJ6NFO   GGH6HNH         HMFNFKMFO
      GHHJ          O        GG9GI9HFHG   G6GNM6LIG6FIH   GGN6MLI         HMFNFKMGG
      GHLN          O        GG9GJ9HFHG   G6FNM6JNM6LMK   GFN6MJO         HMFNFKMGI
      GHOJ          O        GG9GK9HFHG   G6GIJ6FKO6KLI   GGI6JFL         HMFNFKMGK


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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 18 of 54




GIJG         O     GG9GL9HFHG   G6GFK6IMG6KMM   GGF6KIM   HMFNFKMGM
GIKO         O     GG9GM9HFHG   G6FNM6HIG6IHM   GFN6MHI   HMFNFKMGO
GJFK         O     GG9GN9HFHG   G6FFO6MGM6OON   GFF6OMH   HMFNFKMHG
GJIJ         O     GG9GO9HFHG   G6GOG6IFM6HMH   GGO6GIG   HMFNFKMHI
GJKL         O     GG9HF9HFHG   G6FOM6GKJ6NJI   GFO6MGK   HMFNFKMHK
GKFL         O     GG9HG9HFHG   G6GMN6GMG6KHM   GGM6NGM   HMFNFKMHM
HMLK         O     GG9HH9HFHG   G6GJG6FKL6MIO   GGJ6GFL   HMFNFKMHO
HMLL         O     GG9HI9HFHG   G6GFN6MON6OFG   GGF6NNF   HMFNFKMIG
HMLM         O     GG9HJ9HFHG   G6FHK6NOK6LFH   GFH6KOF   HMFNFKMII
HMLN         O     GG9HK9HFHG   G6FLN6MNK6MHJ   GFL6NMO   HMFNFKMIK
HMLO         O     GG9HL9HFHG   G6GOH6INH6KFM   GGO6HIN   HMFNFKMIM
HMMF         O     GG9HM9HFHG   G6HFL6MKM6LON   GHF6LML   HMFNFKMIO
HMMG         O     GG9HN9HFHG   G6FGG6IIK6LJF   GFG6GIJ   HMFNFKMJG
HMMH         O     GG9HO9HFHG   G6GIH6FFL6LHO   GGI6HFG   HMFNFKMJI
HMMI         O     GG9IF9HFHG   G6FOO6MOH6LHG   GFO6OMO   HMFNFKMJK
HMMJ         O      GH9G9HFHG   G6GKM6HLF6OMI   GGK6MHL   HMFNFKMJM
HMMK         O      GH9H9HFHG   G6FJI6JKM6MOJ   GFJ6IJL   HMFNFKMJO
HMML         O      GH9I9HFHG   G6GKJ6MGI6KLJ   GGK6JMG   HMFNFKMKG
HMMM         O      GH9J9HFHG   G6GNJ6NLO6OHN   GGN6JNM   HMFNFKMKI
HMMN         O      GH9K9HFHG   G6FIF6FNK6JKM   GFI6FFO   HMFNFKMKK
HMMO         O      GH9L9HFHG   G6GFI6HHG6FGF   GGF6IHH   HMFNFKMKM
HMNF         O      GH9M9HFHG   G6GHJ6NIM6GFJ   GGH6JNJ   HMFNFKMKO
HMNG         O      GH9N9HFHG   G6GNH6FOF6NOI   GGN6HFO   HMFNFKMLG
HMNH         O      GH9O9HFHG   G6GLI6MOG6FFG   GGL6IMO   HMFNFKMLI
HMNI         O     GH9GF9HFHG   G6GKI6LKH6IHH   GGK6ILK   HMFNFKMLK
HMNJ         O     GH9GG9HFHG   G6GLL6JIN6JIO   GGL6LJJ   HMFNFKMLM
HMNK         O     GH9GH9HFHG   G6GOO6FLG6FGF   GGO6OFL   HMFNFKMLO
HMNL         O     GH9GI9HFHG   G6GKK6HOK6NFI   GGK6KIF   HMFNFKMMG
HMNM         O     GH9GJ9HFHG   G6FNJ6IFO6GKO   GFN6JIG   HMFNFKMMI
HMNN         O     GH9GK9HFHG   G6GKO6OMJ6IMI   GGK6OOM   HMFNFKMMK
HMNO         O     GH9GL9HFHG   G6FLI6LFK6MMI   GFL6ILG   HMFNFKMMM
HMOF         O     GH9GM9HFHG   G6FKJ6MFH6JIM   GFK6JMF   HMFNFKMMO
HMOG         O     GH9GN9HFHG   G6FLK6LKI6KNG   GFL6KLK   HMFNFKMNG
HMOH         O     GH9GO9HFHG   G6GJM6OOK6KGH   GGJ6NFF   HMFNFKMNI
HMOI         O     GH9HF9HFHG   G6GMJ6NKN6MNO   GGM6JNL   HMFNFKMNK
HMOJ         O     GH9HG9HFHG   G6FNF6OIM6GKK   GFN6FOJ   HMFNFKMNM
HMOK         O     GH9HH9HFHG   G6GLO6MKM6HGI   GGL6OML   HMFNFKMNO
HMOL         O     GH9HI9HFHG   G6GGG6MFM6JGI   GGG6GMG   HMFNFKMOG
HMOM         O     GH9HJ9HFHG   G6FHI6LJO6HIH   GFH6ILK   HMFNFKMOI
HMON         O     GH9HK9HFHG   G6GMK6LII6KLL   GGM6KLI   HMFNFKMOK
HMOO         O     GH9HL9HFHG   G6GFF6MJF6LKF   GGF6FMJ   HMFNFKMOM
HNFF         O     GH9HM9HFHG   G6GII6GHM6FMF   GGI6IGI   HMFNFKMOO
HNFG         O     GH9HN9HFHG   G6FNM6FHJ6GLK   GFN6MFH   HMFNFKNFG
HNFH         O     GH9HO9HFHG   G6GIJ6OOH6FIK   GGI6JOO   HMFNFKNFI

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 19 of 54




HNHN         O     GH9IF9HFHG     OKF6LJO6NIM    OK6FLK   HMHGLHKJM
HOLG         O       G9I9HFHH     OOO6GOI6IGH    OO6OGO   HNHHOIJKK
HOMK         O       G9J9HFHH   G6FHF6GLG6LFL   GFH6FGL   IFKKIGFJM
IFFM         O       G9K9HFHH     NOI6GKN6IIL    NO6IGL   IFNNLOKJG
IFIN         O       G9L9HFHH   G6FMH6NHG6FJH   GFM6HNH   IGHHINHJM
IFOF         O       G9N9HFHH   G6GFN6FFM6GMN   GGF6NFG   IGOFIJNHO
IGGG         O       G9O9HFHH   G6GIF6MIM6HLK   GGI6FMJ   IHHJJOKHO
IGKF         O      G9GF9HFHH   G6HKL6MNG6KNO   GHK6LMN   IHKNKNGGN
IGNJ         O      G9GG9HFHH   G6HIF6LOJ6HIK   GHI6FLO   IHOHMNNKL
IHGM         O      G9GH9HFHH   G6HOL6FJO6LGO   GHO6LFK   IIHMGLLOH
IHKO         O      G9GI9HFHH   G6IFK6JJH6FGO   GIF6KJJ   IILGMOMLK
IHOH         O      G9GJ9HFHH   G6LMK6HGK6GFK   GLM6KHH   IIOKGKKJF
IIKO         O      G9GL9HFHH   G6MGF6KFG6KKM   GMG6FKF   IJLJOOFOL
IIMK         O      G9GM9HFHH   G6LLI6OLF6NFG   GLL6IOL   IKFFFIMJJ
IJHI         O      G9GN9HFHH   G6LFN6KGI6MFL   GLF6NKG   IKIKGFLGM
IJJN         O      G9GO9HFHH   G6KKK6LJO6HFI   GKK6KLK   IKMFGHLMO
IJMK         O      G9HF9HFHH   G6LNL6JJK6HHK   GLN6LJK   ILFKGHKML
IKHJ         O      G9HG9HFHH   G6OGL6JLN6KNL   GOG6LJM   ILJFHJKLM
IKKM         O      G9HH9HFHH   G6OGJ6FOL6MFG   GOG6JGF   ILMKHMLHM
IKML         O      G9HI9HFHH   G6OFN6KGI6JGK   GOF6NKG   IMFOOOHGM
ILGI         O      G9HJ9HFHH   H6HFH6NLH6FFK   HHF6HNL   IMJJLOFLM
ILJH         O      G9HK9HFHH   H6FGG6HOO6GKH   HFG6GIF   IMMOJIGFO
ILMO         O      G9HL9HFHH   H6FIO6FGN6FNO   HFI6OFH   INGJJFGIM
IMFG         O      G9HM9HFHH   H6GHG6IGO6MHN   HGH6GIH   INJOLLLMF
IMIN         O      G9HN9HFHH   G6OIF6KLF6FFF   GOI6FKL   INNKFJJHL
IMML         O      G9HO9HFHH   G6OFK6NNJ6HHG   GOF6KNN   IOHFKLMOI
INFN         O      G9IF9HFHH   G6OMN6KHF6MIF   GOM6NKH   IOKLIFOLO
INJL         O      G9IG9HFHH   G6OON6LJO6HNO   GOO6NLK   IOOHGNLJH
INMO         O       H9G9HFHH   G6OON6NHK6LII   GOO6NNI   JFHNGIFHL
IOGJ         O       H9H9HFHH   G6OKI6JKN6MGH   GOK6IJL   JFLJINFHG
IOIG         O       H9I9HFHH   G6OII6LKM6HLJ   GOI6ILL   JGFFMFOMJ
IONF         O       H9J9HFHH   G6OLM6OOM6MON   GOL6NFF   JGIMFFJNF
JFGF         O       H9K9HFHH   H6GHO6HHJ6MON   HGH6OHH   JGMIKOKHO
JFJK         O       H9L9HFHH   H6GKG6GLK6IHI   HGK6GGM   JHGFKGHHI
JFMM         O       H9M9HFHH   H6GKF6NGO6LHM   HGK6FNH   JHJMKGLHI
JFOM         O       H9N9HFHH   H6JFH6IKK6LGF   HJF6HIL   JHNJMKOMJ
JGIG         O       H9O9HFHH   H6IKN6MGM6NMG   HIK6NMH   JIHHGLLHH
JGNG         O      H9GF9HFHH   H6GHG6NOF6NMI   HGH6GNO   JIKOMHNGL
JHGF         O      H9GG9HFHH   H6GKH6MOF6OIN   HGK6HMO   JIOMJLONI
JHJM         O      H9GH9HFHH   H6FNO6NKM6NLN   HFN6ONL   JJIKHJGIH
JHLN         O      H9GI9HFHH   H6GLN6MNL6FNL   HGL6NMO   JJMHONFLM
JIFI         O      H9GJ9HFHH   H6GJG6JFG6NFN   HGJ6GJF   JKGFMOKJK
JIJM         O      H9GK9HFHH   H6GOO6GFM6MFN   HGO6OGG   JKJNLHGFJ
JILN         O      H9GL9HFHH   H6FKI6MOJ6LFJ   HFK6IMO   JKNLLNFKM

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 20 of 54




JJFF         O      H9GM9HFHH   H6IFI6NKO6JNL   HIF6INL   JLHJNIFKF
JJJF         O      H9GN9HFHH   H6GOG6OHO6HNM   HGO6GOI   JLLIFFFGG
JJMF         O      H9GO9HFHH   H6HLM6HOJ6KOH   HHL6MHO   JMFGFJOHG
JKFI         O      H9HF9HFHH   H6HKO6FIL6LKJ   HHK6OFJ   JMIOFOHGH
JKJJ         O      H9HG9HFHH   H6GMO6FMO6IOO   HGM6OFN   JMMMFGHHM
JKMN         O      H9HH9HFHH   G6OJJ6FGO6IMN   GOJ6JFH   JNGJOOOLO
JLGG         O      H9HI9HFHH   G6OOK6OMH6NHL   GOO6KOM   JNKHOIKMG
JLJK         O      H9HJ9HFHH   H6FLI6KHJ6LJF   HFL6IKH   JNOGGKOOJ
JLLF         O      H9HK9HFHH   H6GJF6FNG6GFI   HGJ6FFN   JOHOHFMKI
JMFH         O      H9HL9HFHH   H6GMM6GFN6LLH   HGM6MGG   JOLMOMMFJ
JMIM         O      H9HM9HFHH   H6HGK6ONG6KMI   HHG6KON   KFFLNLIKM
JMMM         O      H9HN9HFHH   H6FKF6GII6JIL   HFK6FGI   KFJKMHOKN
JNFH         O       I9G9HFHH   H6HGH6MKH6OKN   HHG6HMK   KFNJLMHFL
JNJJ         O       I9H9HFHH   H6HFL6NOO6IOM   HHF6LOF   KGHINLFLM
JNLO         O       I9I9HFHH   H6GKG6GNK6MIF   HGK6GGO   KGLIGKJMO
JNON         O       I9J9HFHH   H6GGO6LMI6MNF   HGG6OLM   KHFHJMNKG
JOHL         O       I9K9HFHH   H6FML6GMJ6MLG   HFM6LGM   KHJGNIOLM
JOMJ         O       I9L9HFHH   H6GIG6OHG6ONL   HGI6GOH   KHNGHHLKL
JOOH         O       I9M9HFHH   G6MLJ6IFN6NGJ   GML6JIG   KIHFLNJJK
KFHI         O       I9N9HFHH   G6OLM6FFL6LNN   GOL6MFG   KILFGKMIK
KFMJ         O       I9O9HFHH   H6GHN6KOJ6MJF   HGH6NKO   KIOOMKKLO
KFOO         O      I9GF9HFHH   H6GFI6NNJ6IKM   HGF6INN   KJIOKJIKL
KGII         O      I9GG9HFHH   H6FGH6NHI6LLH   HFG6HNH   KJMOIOJFI
KGKG         O      I9GH9HFHH   H6FHL6IMN6MJF   HFH6LIN   KKGOHONKO
KHFK         O      I9GI9HFHH   H6FGG6III6FLJ   HFG6GII   KKKOHLGLN
KHIN         O      I9GJ9HFHH   G6OMF6FMO6IFN   GOM6FFN   KKOOHOKOL
KHLG         O      I9GK9HFHH   H6FLH6MNJ6HLM   HFL6HMN   KLIOIMFMM
KHNK         O      I9GL9HFHH   H6HLI6GJF6GIK   HHL6IGJ   KLMOKJIGI
KIHJ         O      I9GM9HFHH   H6IMJ6OHK6MFJ   HIM6JOI   KMGONJLGN
KILK         O      I9GN9HFHH   G6ONN6FHG6LLL   GON6NFH   KMLFIHGOF
KIOO         O      I9GO9HFHH   H6HHG6MMG6LML   HHH6GMM   KNFFNOIHI
KJGM         O      I9HF9HFHH   G6OHJ6JLG6LKG   GOH6JJL   KNJGMGJNG
KJKN         O      I9HG9HFHH   H6FOI6JNK6IOK   HFO6IJO   KNNHOJFGH
KJOM         O      I9HH9HFHH   H6FOJ6LFK6GKN   HFO6JLG   KOHKKGIGO
KKGO         O      I9HI9HFHH   H6GKN6JLN6OJN   HGK6NJM   KOLLNHOKI
KKKL         O      I9HJ9HFHH   H6IFM6JLM6MLG   HIF6MJM   LFFNHJNJN
KKON         O      I9HK9HFHH   H6IFJ6FNM6IMM   HIF6JFO   LFJONNNJJ
KLIF         O      I9HL9HFHH   H6GJI6HOG6NHL   HGJ6IHO   LFOGLNNFM
KLKM         O      I9HM9HFHH   H6IFN6HKM6IHL   HIF6NHL   LGIIKKNKG
KLOO         O      I9HN9HFHH   H6JHJ6NOK6HOL   HJH6JOF   LGMKLGKLL
KMGO         O      I9HO9HFHH   H6JIL6KHF6MIM   HJI6LKH   LHGMNKOHN
KMLG         O      I9IF9HFHH   H6JNG6HHN6LLM   HJN6GHI   LHLFHJGMJ
KMOI         O      I9IG9HFHH   H6JKM6HMG6MJN   HJK6MHM   LIFHMKKNH
KNII         O       J9G9HFHH   H6JFM6JKM6INF   HJF6MJL   LIJKJLMGG

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 21 of 54




KNKJ         O       J9H9HFHH   H6JHL6GKH6FHK   HJH6LGK   LINNIHJGK
KNOI         O       J9I9HFHH   H6KIN6IKF6GMF   HKI6NIK   LJIGKFGNO
KOHI         O       J9J9HFHH   H6KMO6OIH6LLO   HKM6OOI   LJMJNHOLK
KOKG         O       J9K9HFHH   H6LGI6HNM6KNO   HLG6IHO   LKGNHMKOF
KOMM         O       J9L9HFHH   H6JHH6MLG6IJI   HJH6HML   LKLGNKGIG
LFHH         O       J9M9HFHH   H6KOI6OOM6HNI   HKO6JFF   LLFKJIHMF
LFKN         O       J9N9HFHH   H6LFI6MHM6MKL   HLF6IMI   LLJOFNOHO
LFNF         O       J9O9HFHH   H6KFG6IJG6NHG   HKF6GIJ   LLOHNOIHL
LGFN         O      J9GF9HFHH   H6JOM6FKK6IFM   HJO6MFL   LMILMJILF
LGIO         O       G9G9HFHH   G6FFN6IFN6OKI   GFF6NIG   LMMNNNNOJ
LGJF         O       G9H9HFHH     OOG6FGH6LHM    OO6GFG   LMMNNNNOL
LGJG         O       G9M9HFHH   G6FNG6HNM6LKF   GFN6GHO   LMMNNNNON
LGJH         O      G9GK9HFHH   G6LLG6KGF6IKJ   GLL6GKG   LMMNNNOFF
LGKI         O      J9GG9HFHH   H6JOL6OMO6KHI   HJO6LON   LMNFMHGON
LGOJ         O      J9GH9HFHH   H6JHF6MHJ6LIO   HJH6FMH   LNHJMJNIK
LHFN         O      J9GI9HFHH   H6IOM6JKI6IOH   HIO6MJK   LNLNNNOMM
LHJK         O      J9GJ9HFHH   H6ILG6MJF6MFM   HIL6GMJ   LOGIHGGMH
LHMO         O      J9GK9HFHH   H6JGL6INH6LHK   HJG6LIN   LOKMLLNFF
LIHF         O      J9GL9HFHH   H6JGM6HLL6KMN   HJG6MHM   MFFHHJHFM
LIKK         O      J9GM9HFHH   H6IOO6KMI6GNN   HIO6OKM   MFJLOJOLN
LIOF         O      J9GN9HFHH   H6FIK6MFG6MIK   HFI6KMF   MFOGMLIIH
LJGI         O      J9GO9HFHH   H6GFH6LII6KNF   HGF6HLI   MGILLGIKL
LJJH         O      J9HF9HFHH   H6FNJ6NIK6OGH   HFN6JNJ   MGNGLNLHO
LJOJ         O      J9HG9HFHH   H6GIK6FFK6OJH   HGI6KFG   MHIFMHOHJ
LKGF         O      J9HH9HFHH   H6GFK6KFN6JIK   HGF6KKG   MHMHINHOH
LKJL         O      J9HI9HFHH   H6GHG6MLM6KJF   HGH6GMM   MIGONGKMF
LKLO         O      J9HJ9HFHH   H6GGF6HGL6MHG   HGG6FHH   MILILFFGM
LLFL         O      J9HK9HFHH   H6GGM6GNM6JFN   HGG6MGO   MJFOJJMJF
LLKI         O      J9HL9HFHH   H6GKN6MJO6NMF   HGK6NMK   MJKKINHOO
LLMM         O      J9HM9HFHH   H6GJI6MKI6JHL   HGJ6IMK   MKFGJOMMM
LMGG         O      J9HN9HFHH   H6HMN6GOJ6HHO   HHM6NGO   MKJMLMONF
LMKK         O      J9HO9HFHH   H6GHK6JIK6MGO   HGH6KJJ   MKOJFKLKN
LMOH         O      J9IF9HFHH   G6NMN6OFM6GFM   GNM6NOG   MLJFJLFNO
LNFM         O       K9G9HFHH   G6NJF6IIK6IKH   GNJ6FIJ   MLNLMLLHN
LNKG         O       K9H9HFHH   G6OLH6LKF6JFG   GOL6HLK   MMIHNNJJL
LNMM         O       K9I9HFHH   G6OJH6LKN6IJJ   GOJ6HLL   MMMOIHMOK
LOFL         O       K9J9HFHH   G6ONN6NGL6NHK   GON6NNH   MNHLFJHNO
LOKJ         O       K9K9HFHH   H6FMI6MFI6JOH   HFM6IMF   MNMIFHOIG
LONO         O       K9L9HFHH   G6OLO6MOK6KIM   GOL6ONF   MOHFGNHGK
MFGH         O       K9M9HFHH   G6NHL6KGG6MMO   GNH6LKG   MOLMGJJOO
MFKH         O       K9N9HFHH   G6NIK6MMH6OGM   GNI6KMM   NFGJGLMFK
MFMG         O       K9O9HFHH   G6KOG6JFN6GGH   GKO6GJG   NFLFNLNGK
MGHG         O      K9GF9HFHH   G6NLF6GFF6GJG   GNL6FGF   NGFMIOOJH
MGKF         O      K9GG9HFHH   G6MOJ6FNO6LFK   GMO6JFO   NGKIOHILO

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 22 of 54




MGNF         O      K9GH9HFHH   H6NLL6NNN6JII   HNL6LNO    NHFFGMION
MHGN         O      K9GI9HFHH   I6FLL6OJK6GHG   IFL6LOK    NHJKIJGKO
MHKH         O      K9GJ9HFHH   I6FHI6MFK6INF   IFH6IMG    NHOFMMNML
MHNJ         O      K9GK9HFHH   I6FKH6MNI6OFM   IFK6HMN    NIILOMJLF
MIFK         O      K9GL9HFHH   I6FIH6FKK6HJN   IFI6HFL    NINIMGIIN
MIKG         O      K9GM9HFHH   H6OFN6NOL6KIO   HOF6NOF    NJIFMKJNK
MIML         O      K9GN9HFHH   H6MNL6NLK6KGH   HMN6LNM    NJMNGMFKM
MJGO         O      K9GO9HFHH   H6MHI6MJK6OMH   HMH6IMK    NKHKNGJML
MJKH         O      K9HF9HFHH   H6NHN6FMN6LFN   HNH6NFN    NKMIKMKLL
MJNK         O      K9HG9HFHH   H6NMM6KOL6GHN   HNM6MLF    NLHGKKHLK
MKFK         O      K9HH9HFHH   H6NLF6HIH6OIJ   HNL6FHI    NLLOLONIH
MKJM         O      K9HI9HFHH   H6OHL6FFI6KIM   HOH6LFF    NMGNGJNOI
MKLM         O      K9HJ9HFHH   H6OKK6OFN6LOG   HOK6KOG    NMLLNNFMN
MLGL         O      K9HK9HFHH   H6OJO6MGJ6HHF   HOJ6OMG    NNGKMFIJM
MLJH         O      K9HL9HFHH   H6NMN6ION6NKF   HNM6NJF    NNLJMKGHF
MLNH         O      K9HM9HFHH   H6NGO6IMG6MNF   HNG6OIM    NOGINJNHM
MMFI         O      K9HN9HFHH   H6KNL6OJL6HHH   HKN6LOK    NOLHIJKJI
MMJF         O      K9HO9HFHH   H6LGI6FKJ6LOH   HLG6IFK    OFGGFFMJI
MMLI         O      K9IF9HFHH   H6LMO6LFL6GKM   HLM6OLG    OFLFJJGNK
MMOH         O      K9IG9HFHH   H6NJN6GJG6MGJ   HNJ6NGJ    OGGFMIKLG
MNJL         O       L9G9HFHH   H6NHF6OFI6JMK   HNH6FOF    OGLHINNNG
MNMO         O       L9H9HFHH   H6MMK6GHH6NKF   HMM6KGH    OHGJKHLNF
MOFG         O       L9I9HFHH   H6NKK6FKK6FIO   HNK6KFL    OHLLNHHOJ
MOIG         O       L9J9HFHH   H6NHG6HFI6HHK   HNH6GHF    OIGNGOIHN
MOIL         O       L9K9HFHH   H6NKJ6NJH6HIF   HNK6JNJ    OILNKOJIN
MOLM         O       L9L9HFHH   H6NOL6MOG6OLF   HNO6LMO    OJGOHJNGN
MOOM         O       L9M9HFHH   H6NJM6NFG6IHN   HNJ6MNF    OJMFHJJNI
NFJF         O       L9N9HFHH   H6NLH6GIJ6JHJ   HNL6HGI    OKHGJLINJ
NFMG         O       L9O9HFHH   H6NHJ6MNO6MKJ   HNH6JMO    OKMHOIJMK
NGFI         O      L9GF9HFHH   H6NNM6KIM6KHL   HNN6MKJ    OLHJLJIOL
NGJH         O      L9GG9HFHH   H6NNM6HNL6HOO   HNN6MHO    OLMLJKMKM
NGMH         O      L9GI9HFHH   H6MKF6MGF6GJN   HMK6FMG    OMMONLMKN
NGOF         O      L9GJ9HFHH   H6JJJ6FMN6JFL   HJJ6JFN    ONIFOHJMO
NHJG         O      L9GK9HFHH   G6LKH6FIL6JGI   GLK6HFJ    ONNGOHHIK
NHMK         O      L9GL9HFHH   G6JOF6NGN6ILF   GJO6FNH    OOIHNOMGM
NHOM         O      L9GM9HFHH   G6GNN6KLJ6HJG   GGN6NKL    OONJFMOIO
NIJG         O      L9GN9HFHH   G6HFO6HMK6IGJ   GHF6OHN   GFFIKIFFGF
NIMI         O      L9GO9HFHH   G6HLM6JNG6NLI   GHL6MJN   GFFNLILLJL
NIOG         O      L9HF9HFHH   G6JJF6LII6JNL   GJJ6FLI   GFGIMJNNKL
NJIF         O      L9HG9HFHH   G6LFM6FIJ6ILH   GLF6MFI   GFGNNOONML
NJMH         O      L9HH9HFHH   G6MHL6FGM6FJO   GMH6LFH   GFHJFOFKJO
NKFL         O      L9HI9HFHH   G6LMH6KHF6HIF   GLM6HKH   GFHOHNJMFI
NKIM         O      L9HJ9HFHH   G6LJL6HHH6FMN   GLJ6LHH   GFIJKFNIGL
NKLJ         O      L9HK9HFHH   G6OHO6FIM6MFN   GOH6OFJ   GFIOMMFJGH

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 23 of 54




 NKOH        O      L9HL9HFHH   G6NNF6MHJ6LKI   GNN6FMH   GFJKFKNFOK
 NLHH        O      L9HM9HFHH   G6NNH6JJI6MMG   GNN6HJJ   GFKFILLFOL
 NLMG        O      L9HN9HFHH   G6ONL6MFG6JJN   GON6LMF   GFKKLNJLNK
 NLNO        O      L9HO9HFHH   G6OIF6FKL6MMK   GOI6FFL   GFLGFGJMJF
 NMIL        O      L9IF9HFHH   G6MLG6GMI6NNF   GML6GGM   GFLLIJMFHJ
 NMLH        O       M9G9HFHH   G6MJO6LGH6HKN   GMJ6OLG   GFMGLMGJMJ
 NMNM        O       M9H9HFHH   G6MGI6JKM6NHF   GMG6IJL   GFMMFGKHLG
 NNHI        O       M9I9HFHH   G6LGH6JJO6JMJ   GLG6HJK   GFNHIMIHGF
 NNLL        O       M9J9HFHH   G6KGJ6IMF6GHI   GKG6JIM   GFNMMJKOOK
 NNOK        O       M9K9HFHH   G6KFN6IGL6OIK   GKF6NIH   GFOIGJGOGH
 NOII        O       M9L9HFHH   G6JJM6GHF6IGG   GJJ6MGH   GFONKLFHKO
 NOMF        O       M9M9HFHH   G6JLJ6NOM6HLK   GJL6JOF   GGFIOOJLNI
 NONN        O       M9N9HFHH   G6LGL6NLL6FGJ   GLG6LNM   GGFOJKNLKN
 OFHN        O       M9O9HFHH   G6LHL6IHK6JMO   GLH6LII   GGGJOJNJOL
 OFLO        O      M9GF9HFHH   G6MHN6MMJ6OJH   GMH6NMM   GGHFJLKHJG
 OGFH        O      M9GG9HFHH   G6LFN6HLL6MLK   GLF6NHM   GGHKOOGOOH
 OGIJ        O      M9GH9HFHH   G6KMJ6OLF6JKL   GKM6JOL   GGIGKHIKHN
 OGLM        O      M9GJ9HFHH   G6NMJ6GJJ6ONL   GNM6JGJ   GGJHLLLLKM
 OGNM        O      M9GL9HFHH   G6LLO6LHJ6JIG   GLL6OLH   GGKIOIOKNL
 OHKK        O      M9HF9HFHH   G6NML6MGH6KMI   GNM6LMG   GGMLOINGIH
 OHOI        O      M9HG9HFHH   H6GFF6FOK6FIN   HGF6FGF   GGNHMMIIOF
 OIII        O      M9HL9HFHH   G6LGJ6GGL6NFH   GLG6JGH   GHGHGNJNII
 OILL        O      M9HN9HFHH   G6LOF6NLF6OJN   GLO6FNL   GHHJFHJIML
 OINJ        O       N9G9HFHH   H6FKF6JGF6GHF   HFK6FJG   GHJNGMOIGF
 OJGN        O       N9J9HFHH   G6OGG6JHO6KLM   GOG6GJI   GHLLKFMLLO
 OJLF        O       N9N9HFHH   H6GHG6GMH6OLH   HGH6GGM   GHOGIGNFLG
 OJOO        O      N9GM9HFHH   H6JLM6GLJ6OOH   HJL6MGL   GIJNIJFIFJ
 OKHM        O      N9HF9HFHH   H6GKN6NIH6LGN   HGK6NNI   GILMMHOMIK
 OKLI        O      N9HM9HFHH   H6GOK6KOG6FIN   HGO6KKO   GJGILKJMGK
 OLFF        O      N9HN9HFHH   H6HFM6JNM6FHN   HHF6MJO   GJHFGOIKGI
 OLIH        O      N9HO9HFHH   H6HJJ6NGN6NGF   HHJ6JNH   GJHLONNJOI
 OLLL        O      N9IF9HFHH   H6GFH6OJG6HON   HGF6HOJ   GJIIKKKKOJ
 OLOO        O      N9IG9HFHH   H6GHH6JGH6NIH   HGH6HJG   GJJFGKGOJH
 OMIH        O       O9G9HFHH   H6GHM6MLF6NGO   HGH6MML   GJJLJNOHJM
 OMLK        O       O9H9HFHH   H6GKM6FGH6MJH   HGK6MFG   GJKIKMIHGF
 OMON        O       O9I9HFHH   H6GIM6KKJ6MFG   HGI6MKK   GJKONMFIKF
 ONIF        O       O9J9HFHH   H6GJN6GJN6LKF   HGJ6NGK   GJLMIKJILH
 ONLJ        O       O9K9HFHH   H6GIH6LJM6JJJ   HGI6HLK   GJMJFIJNNO
 ONOM        O       O9L9HFHH   H6HLL6HOO6FMN   HHL6LIF   GJNFJLOJGH
 OOHM        O       O9M9HFHH   H6IMG6OKK6LGN   HIM6GOL   GJNMJJJMHH
 OOLH        O       O9N9HFHH   H6KLM6NGF6MOO   HKL6MNG   GJOJGKGFOK
 OOOK        O       O9O9HFHH   H6LIL6FKI6KOJ   HLI6LFK   GKFFNNJMJL
GFFHN        O      O9GF9HFHH   H6MIG6MOO6ILJ   HMI6GNF   GKFMLLNIOK
GFFLF        O      O9GG9HFHH   H6NHF6JIH6FNI   HNH6FJI   GKGJJLMNHH

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 24 of 54




GFFNN        O      O9GH9HFHH   H6NLK6GOG6JJK   HNL6KGO   GKHGHOIOML
GFGHM        O      O9GI9HFHH   H6NLN6NNL6KMK   HNL6NNO   GKHNGHKNHI
GFGLG        O      O9GJ9HFHH   H6OHM6NOK6LLF   HOH6MOF   GKIJONHNMI
GFGOI        O      O9GK9HFHH   I6FFM6FHM6HLH   IFF6MFI   GKJGNGHFGI
GFHHL        O      O9GL9HFHH   H6OIJ6IIF6JOL   HOI6JII   GKJNLJGJIH
GFHKO        O      O9GM9HFHH   H6NOL6LOM6JIO   HNO6LMF   GKKKKIKJFJ
GFHOH        O      O9GN9HFHH   H6OII6KKL6NNJ   HOI6IKL   GKLHMGKOGK
GFIHI        O      O9GO9HFHH   I6FJH6FNK6NOG   IFJ6HFO   GKLOOIGFOG
GFIKM        O      O9HF9HFHH   I6GMH6KKG6JHL   IGM6HKK   GKMMGIONMG
GFINM        O      O9HG9HFHH   I6GIJ6KKN6MIO   IGI6JKL   GKNJIMLOHO
GFJHK        O      O9HH9HFHH   I6GOK6GIO6LHF   IGO6KGJ   GKOGLHMHJO
GFJKN        O      O9HI9HFHH   I6IJO6JGL6MHH   IIJ6OJH   GKONNNKHJO
GFJNH        O      O9HJ9HFHH   I6JJI6MGM6IFJ   IJJ6IMH   GLFLGMKJMF
GFKHI        O      O9HK9HFHH   I6JKK6KOH6OML   IJK6KKO   GLGIKHONJF
GFKKM        O      O9HL9HFHH   I6KGO6HHM6LFI   IKG6OHI   GLHFOIIJOI
GFMMH        O      O9HM9HFHH   I6LJJ6FOI6FGO   ILJ6JFO   GLHNIGLOJO
GGFGN        O      O9HN9HFHH   I6LIL6IMH6NMN   ILI6LIM   GLIKMLNKHK
GGHMJ        O      O9HO9HFHH   I6OGF6NMK6IOJ   IOG6FNN   GLJIGONGFH
GGLKH        O      O9IF9HFHH   I6NLK6IJN6LFF   INL6KIK   GLKFLMJLMF
GHFLM        O      GF9G9HFHH   J6HII6LMM6MII   JHI6ILN   GLKNGMGLFO
GHHKF        O      GF9H9HFHH   J6HHM6NLL6ILK   JHH6MNM   GLLKLONGJL
GHLMJ        O      GF9I9HFHH   J6FKH6JKN6KHI   JFK6HJL   GLMIHFOKJO
GIGKN        O      GF9J9HFHH   J6HIG6KIO6LKM   JHI6GKJ   GLNFMHININ
GIHNJ        O      GF9K9HFHH   J6JHH6GNO6HFN   JJH6HGO   GLNMOLIIKI
GILJM        O      GF9L9HFHH   J6ILN6JIJ6MLL   JIL6NJI   GLOKNIGGGM
GIOLK        O      GF9M9HFHH   J6IIH6FON6IGL   JII6HGF   GMFIJFHOJH
GJIOG        O      GF9N9HFHH   J6GIL6OOH6HKK   JGI6LOO   GMGFOMNGFG
GJLIN        O      GF9O9HFHH   J6HKM6JLO6HHJ   JHK6MJM   GMGNHKIGLG
GJNLO        O     GF9GF9HFHH   J6HON6HHM6LLJ   JHO6NHI   GMHLGNNOGN
GKIOM        O     GF9GG9HFHH   J6GNF6LOG6NGF   JGN6FLO   GMIINHJNIJ
GKLGO        O     GF9GH9HFHH   J6JLL6OGG6FKJ   JJL6LOG   GMJGJKOIKL
GLGFK        O     GF9GI9HFHH   J6HIO6MFM6LOL   JHI6OMG   GMJNNFKJIL
GLJFM        O     GF9GJ9HFHH   J6KHG6HLL6HJM   JKH6GHM   GMKLMNJJIL
GLLGG        O     GF9GK9HFHH   J6GFF6MIG6OKF   JGF6FMI   GMLJJKMNHG
GMFGO        O     GF9GL9HFHH   J6FMK6MMH6FJL   JFM6KMM   GMMHFKKFLJ
GMJIG        O     GF9GM9HFHH   J6GLK6LOI6HJK   JGL6KLO   GMMONLLMOM
GMKGL        O     GF9GN9HFHH   J6KLM6KHN6LNI   JKL6MKI   GMNMKLIKHO
GMOJH        O     GF9GO9HFHH   J6HJJ6NML6GIO   JHJ6JNN   GMOKIMFNMI
GNHMM        O     GF9HF9HFHH   J6HHN6JIL6KGK   JHH6NJJ   GNFIGIGLGG
GNLMN        O     GF9HG9HFHH   J6HJJ6GLO6HOF   JHJ6JGM   GNGFNNLHHN
GNOJL        O     GF9HH9HFHH   J6IFN6FLN6HNN   JIF6NFM   GNGNLMKGFF
GOIJF        O     GF9HI9HFHH   J6IGK6MKL6KNF   JIG6KML   GNHLKFNJKM
GOMGH        O     GF9HJ9HFHH   J6IOH6OKL6FNL   JIO6HOL   GNIJIIHJLK
HFFMN        O     GF9HK9HFHH   J6ILF6JHO6MMH   JIL6FJI   GNJHGMHGHH

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    Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 25 of 54




    HFJFO        O       GF9HL9HFHH   J6KLK6OIM6OFH   JKL6KOJ   GNKFFIOGFK
    HFNFO        O       GF9HM9HFHH   J6OFJ6JNK6IMH   JOF6JJO   GNKMOLHNHO
    HGGOI        O       GF9HN9HFHH   J6MFK6LHI6MNN   JMF6KLH   GNLKNOLMGH
    HGKLI        O       GF9HO9HFHH   J6JLK6KMH6NGF   JJL6KKM   GNMINLKGNM
    HGMLM        O       GF9IF9HFHH   J6LIJ6KLO6KGL   JLI6JKM   GNNGNNGMFL
    HHHFJ        O       GF9IG9HFHH   J6KJG6GLO6KHJ   JKJ6GGM   GNNONOIKNN
    HHKIG        O        GG9G9HFHH   J6LKF6JJL6NLH   JLK6FJK   GNOMOGLKFH
    HIFFO        O        GG9H9HFHH   I6OMM6MGK6NKO   IOM6MMH   GOFKOJOJMF
    HIIOG        O        GG9I9HFHH   I6LMG6HIN6OLF   ILM6GHJ   GOGIOOGHGK
    HILKK        O        GG9J9HFHH   I6KKH6JHJ6OOH   IKK6HJH   GOHGMFNNNH
    HIOOL        O        GG9K9HFHH   I6JMO6MJL6FIH   IJM6OMK   GOIFGFKGOI
    HJIKO        O        GG9L9HFHH   I6JMN6OML6FOI   IJM6NON   GOINHIOJGJ
    HJLOK        O        GG9M9HFHH   I6NGJ6HIM6JOM   ING6JHJ   GOJLHGNLKO
    HKFNN        O        GG9N9HFHH   I6OKJ6FGG6JGL   IOK6JFG   GOKIHLFLKL
    HKJHN        O        GG9O9HFHH   I6KMM6JII6JNM   IKM6MJI   GOLFHJIJJM
    HKNHJ        O       GG9GF9HFHH   I6HHO6KIL6LMO   IHH6OKJ   GOLLFMFJNL
    HLFLI        O       GG9GG9HFHH   I6KJJ6NGN6HJN   IKJ6JNH   GOMGIFMLGL
    HLFOH        O       GG9GH9HFHH   I6MHJ6OKK6JGM   IMH6JOL   GOMHKMOJGH
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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 26 of 54




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                 Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 28 of 54




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      GHLLMHL   #( )A&';,-,"8)'9-/                   /."F:KM NLKGNGFFL
      GHNIGGJ   #( )A&';,-,"8)'7 /.                       /.7/."F:KGMKIKMIJLFGGOH 
      GHNIGJN   #( )A&';,-,"8)'7 /.9.-.                  /.7/."F:KGMKIKMIJLFGGOH 
      GIFFKOF   #( )A&';,-,"8)'9< ..<#)                  /."F:KM NLKGNGFFL
      GIILKHN   #( )A&';,-,"8)'9< ..<)''/(#.3<#)        /."F:KM NLKGNGFFL
      GIJLJHH   #( )A&';,-,"8)'9.-.<-/                  /."F:KM NLKGNGFFL
      GJFKIGF   )..)(!,)0.,#(!A!'#&8)'                        /."F:KI HMOHGGFOHFIJN
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      GJGNGJK   )..)(!,)0.,#(!A!'#&8)'9) <',%.< ..          /."F:KI HMOHGGFOHFIJN
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      HFLHHOH   #( )A&';,-,"8)'9)'*.#.#)(          /."F:KM NLKGNGFFL
      HGIMOJH   #( )A&';,-,"8)'9 *#.&)'*.#.#)(    /."F:KM NLKGNGFFL
      IHJJFJM   -*).< -<*(&                                       
      IHNKIFL   #( )A&';,-,"8)'9.,3                    /."F:KM NLKGNGFFL
      IJJOMON   #( )A&';,-,"8)'9"2,)<#(.,-.             /."F:KM NLKGNGFFL
      IMJOJMJ   #( )A&';,-,"8)'91                      /."F:KM NLKGNGFFL
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            Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 29 of 54




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 MKHMLFK   ,0,.<&)%<,1,-                                 
 NIGGLGG   #( )A&';,-,"8)'9.-.                          /."F:KM NLKGNGFFL
 NNKMFHH   #( )A&';,-,"8)'9-*).< <).                  /."F:KM NLKGNGFFL
GGGJOJHG   #( )A&';,-,"8)'9<G<&.<"0&*!!*#-    /."F:KM NLKGNGFFL
            #( )A&';
GHNNOJHH   ,-,"8)'9<H<&.<*/ ! !/                 /."F:KM NLKGNGFFL
            #( )A&';
GHOOIKIF   ,-,"8)'9<I<&.<30/(3+4'1*1                 /."F:KM NLKGNGFFL
GIFHLMJN   #( )A&';,-,"8)'9),,)1#(!<G                   /."F:KM NLKGNGFFL
GIGIGILL   -.%#(!<*3,<                                        
            #( )A&';
GIHFIOMI   ,-,"8)'9<"&&)<&.<-"!*%/4!1#0&             /."F:KM NLKGNGFFL
GIHKHOII   2*(--A*,)$.-,/'8)'9-,'< ),< ..<-.%,-           /-,:2*(--A*,)$.-,/'8)'
GILJHNLH   #( )A&';,-,"8)'9H&.                    /."F:KM NLKGNGFFL
GJKHKLHG   '#</(&)%,                                          
GJKNHKFI   *3*&                                                  
GKFOMGJJ   -.%#(!<*3,<                                       
GMGOLOII   #( )A&';,-,"8)'9&#(&#0,3                  /."F:KM NLKGNGFFL
GMJOJMMI   #( )A&';,-,"8)'9<&#(H<&.<*)&).) ", 0)   /."F:KM NLKGNGFFL
GMKLNJFF   #( )A&';,-,"8)'9&#0,3                   /."F:KM NLKGNGFFL
GMMMOHFF   #( )A&';,-,"8)'9')<-/                       /."F:KM NLKGNGFFL
GMMOOIHN   #( )A&';,-,"8)'9')<),,)1                    /."F:KM NLKGNGFFL
GNGGMHMO   #( )A&';,-,"8)'9HFHG<+G<&)-)/.              /."F:KM NLKGNGFFL
GNGHGKOM   0<&(<)(0,-#)(                                    
GNGIHJLF   #( )A&';,-,"8)'9-*&;,#!                    /."F:KM NLKGNGFFL
GNMFOMOM   #( )A&';,-,"8)'9&#(I                         /."F:KM NLKGNGFFL
GOFIIGNN   #( )A&';,-,"8)'9&#(J                         /."F:KM NLKGNGFFL
GOGKHNNK   #( )A&';,-,"8)'9)23                           /."F:KM NLKGNGFFL
HFGHNLKG   #( )A&';,-,"8)'9,'*                          /."F:KM NLKGNGFFL
HKILHJJG   #( )A&';,-,"8)'9()(</-<)(0,.               /."F:KM NLKGNGFFL
HKNMOIHL   #( )A&';,-,"8)'9',<#)                       /."F:KM NLKGNGFFL


                                                     
            Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 30 of 54




HLFHFGFI   #( )A&';,-,"8)'9).<*),.&< -        /."F:KM NLKGNGFFL
HLFOOHHG   #( )A&';,-,"8)'9(1<-/                /."F:KM NLKGNGFFL
HLKGJIJJ   )..)(!,)0.,#(!A!'#&8)'9*3."<*)-#.        /."F:KI HMOHGGFOHFIJN
HLLOMGLH   #( )A&';,-,"8)'9                     /."F:KM NLKGNGFFL
HLOOMLNN   #( )A&';,-,"8)'9(!<                /."F:KM NLKGNGFFL
HOJNFMKO   #( )A&';,-,"8)'9&'<*3."<*,-&   /."F:KM NLKGNGFFL
IFFMKGLJ   #( )A&';,-,"8)'9-/(<)(0,-#)(         /."F:KM NLKGNGFFL
IGFHOMJN   #( )A&';,-,"8)'9-&,-<#)               /."F:KM NLKGNGFFL
IGLOJLKH   #( )A&';,-,"8)'9#(0-.'(.             /."F:KM NLKGNGFFL
IJGJKMHO   #( )A&';,-,"8)'9/&#<13             /."F:KM NLKGNGFFL
IKGMIGKN   #( )A&';,-,"8)'9-)&&.H                /."F:KM NLKGNGFFL
IKGMIHFO   #( )A&';,-,"8)'9-)&&.I                /."F:KM NLKGNGFFL
IKGMMMIG   #( )A&';,-,"8)'9-)&&.J                /."F:KM NLKGNGFFL
IKGMMMJN   #( )A&';,-,"8)'9-)&&.K                /."F:KM NLKGNGFFL
IKGMMMLK   #( )A&';,-,"8)'9-)&&.L                /."F:KM NLKGNGFFL
IKGMMMOO   #( )A&';,-,"8)'9-)&&.M                /."F:KM NLKGNGFFL
IKGMMNLM   #( )A&';,-,"8)'9GFK<-)&&.N           /."F:KM NLKGNGFFL
IKGMMNNJ   #( )A&';,-,"8)'9GFJ<-)&&.O           /."F:KM NLKGNGFFL
IMHOOLNN   #( )A&';,-,"8)'9(1<)#(               /."F:KM NLKGNGFFL
IMNFHHHK   #( )A&';,-,"8)'9.&-<#)              /."F:KM NLKGNGFFL
JGKOFOLJ   **,<#,                                       
JIKNIOHK   #( )A&';,-,"8)'9-,/'GI                /."F:KM NLKGNGFFL
JIKNJFHM   #( )A&';,-,"8)'9 #,)* ),     /."F:KM NLKGNGFFL
JIKNJFOK   #( )A&';,-,"8)'9-,/'GK                /."F:KM NLKGNGFFL
JMNKOHMH   #( )A&';,-,"8)'9<%#(!               /."F:KM NLKGNGFFL
JMNKOOIK   #( )A&';,-,"8)'9< #( #(.3           /."F:KM NLKGNGFFL
JMNLGJGJ   #( )A&';,-,"8)'9<#($              /."F:KM NLKGNGFFL
JNHKJILO   #( )A&';,-,"8)'9(<1"#,&              /."F:KM NLKGNGFFL
JOKJMMHO   #( )A&';,-,"8)'91.                   /."F:KM NLKGNGFFL
JOMIKNLN   #( )A&';,-,"8)'9,--#!(             /."F:KM NLKGNGFFL
KKONMOHJ   '!                                             
KLJGLJHL   2*(--A*,)$.-,/'8)'9#                     /-,:2*(--A*,)$.-,/'8)'
KNJFLJHO   #( )A&';,-,"8)'9G                    /."F:KM NLKGNGFFL
KNJFLJOM   #( )A&';,-,"8)'9H                    /."F:KM NLKGNGFFL
KNJFLMNL   #( )A&';,-,"8)'9I                    /."F:KM NLKGNGFFL
KNKHNJKK   2*(--A*,)$.-,/'8)'9)-,/'<!,(.-        /-,:2*(--A*,)$.-,/'8)'
LHGFLMFF   2*(--A*,)$.-,/'8)'9# <#(0-.'(.-        /-,:2*(--A*,)$.-,/'8)'
LHJIIFGK   #( )A&';,-,"8)'9)%                     /."F:KM NLKGNGFFL
LIJJLJNM   #( )A&';,-,"8)'9.'*                   /."F:KM NLKGNGFFL
LJMKNKIF   #( )A&';,-,"8)'9-..&'(.      /."F:KM NLKGNGFFL
LLJKFMLG   #( )A&';,-,"8)'9#((< <)/(.    /."F:KM NLKGNGFFL
LMLGNMGH   #( )A&';,-,"8)'9,*,!#(/          /."F:KM NLKGNGFFL
MHLLOILG   #( )A&';,-,"8)'9-)&<&)(               /."F:KM NLKGNGFFL
MHLLOKIG   -)&<&)(                                         

                                                    
            Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 31 of 54




 MIHNGOIO **,#,A .28)'                                      /-,:**,#,A .28)'
 MLJHKHIO #( )A&';,-,"8)'9,(,                         /."F:KM NLKGNGFFL
           #( )A&';
 MMIGOMLH ,-,"8)'9<)<().<,/-<&.<#"2.)2")*        /."F:KM NLKGNGFFL
 MOJJHNKN #( )A&';,-,"8)'9*-3<#)                      /."F:KM NLKGNGFFL
 MOOJMLOF #( )A&';,-,"8)'9HGO                         /."F:KM NLKGNGFFL
 NGHOFFMN #( )A&';,-,"8)'9-.."                        /."F:KM NLKGNGFFL
 NGHOKFOI #( )A&';,-,"8)'9-.."H                       /."F:KM NLKGNGFFL
           #( )A&';
 NGOHIMFH ,-,"8)'9<G(.)(<&.<-/, +**1,$              /."F:KM NLKGNGFFL
 NGOLOLMF #( )A&';,-,"8)'9HFH                         /."F:KM NLKGNGFFL
 NGOMGMLG #( )A&';,-,"8)'9HGG                         /."F:KM NLKGNGFFL
 NIFJGNMM #( )A&';,-,"8)'9HMJ                         /."F:KM NLKGNGFFL
 NIFLJLOG #( )A&';,-,"8)'9OI                          /."F:KM NLKGNGFFL
 NIGHIJMM #( )A&';,-,"8)'9<G<&.<%% 0*&()00      /."F:KM NLKGNGFFL
 NIHKLJIJ #( )A&';,-,"8)'9*,)').#)(                    /."F:KM NLKGNGFFL
 NJFOJMMH #( )A&';,-,"8)'9&#44)&&.,&              /."F:KM NLKGNGFFL
 NJMFIMGH #( )A&';,-,"8)'9.-.<FG                      /."F:KM NLKGNGFFL
 NLLIMMGM #( )A&';,-,"8)'9HGK                         /."F:KM NLKGNGFFL
 NMJJOJII #( )A&';,-,"8)'9HFI                         /."F:KM NLKGNGFFL
 NMKJGMMM #( )A&';,-,"8)'9                        /."F:KM NLKGNGFFL
 OGLMNFLJ #( )A&';,-,"8)'9HFN                         /."F:KM NLKGNGFFL
           #( )A&';
 OIHOMLNN ,-,"8)'9<GFL<&.<"2++0(4%!                /."F:KM NLKGNGFFL
 OKGOOJOK #( )A&';,-,"8)'9',.1*                      /."F:KM NLKGNGFFL
 OLHLMOMO 2*(--A*,)$.-,/'8)'9# <#(0-.),<#-/,-'(.-   /-,:2*(--A*,)$.-,/'8)'
 OLMJIIII #( )A&';,-,"8)'9HGI                         /."F:KM NLKGNGFFL
 OLNJMMIF #( )A&';,-,"8)'9HHF                         /."F:KM NLKGNGFFL
 OLNKNJHI #( )A&';,-,"8)'9 <,1,<*3'(.-           /."F:KM NLKGNGFFL
 OMHIJOHH #( )A&';,-,"8)'9#(#<#)<.#%.<*3)/.       /."F:KM NLKGNGFFL
 OMJFLJIK #( )A&';,-,"8)'9 (#                       /."F:KM NLKGNGFFL
 ONFKKFMF #( )A&';,-,"8)'93#.                        /."F:KM NLKGNGFFL
 ONMOLGLN #( )A&';,-,"8)'9-*&&                        /."F:KM NLKGNGFFL
 OOHJJGGN #( )A&';,-,"8)'9                       /."F:KM NLKGNGFFL
 OOKNKFKI #( )A&';,-,"8)'9G                         /."F:KM NLKGNGFFL
 OOKNKFMF #( )A&';,-,"8)'9H                         /."F:KM NLKGNGFFL
 OOKNKFNM #( )A&';,-,"8)'9I                         /."F:KM NLKGNGFFL
 OOKNKGFJ #( )A&';,-,"8)'9J                         /."F:KM NLKGNGFFL
 OONFILKL #( )A&';,-,"8)'9H2<#)                      /."F:KM NLKGNGFFL
GFGIHGOFO #( )A&';,-,"8)'9-.,!.                     /."F:KM NLKGNGFFL
GFGKNJOGL #( )A&';,-,"8)'9HII                         /."F:KM NLKGNGFFL
GFGMNLFOJ #( )A&';,-,"8)'9-#&0,!.                   /."F:KM NLKGNGFFL
GFGNGOHGF #( )A&';,-,"8)'9,*3'(.                    /."F:KM NLKGNGFFL
GFGNMLHOL #( )A&';,-,"8)'9HFG                         /."F:KM NLKGNGFFL


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             Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 32 of 54




GFHMJKMGF   #( )A&';,-,"8)'9-)&-                     /."F:KM NLKGNGFFL
GFHMJKMOK   #( )A&';,-,"8)'9&)10(./,-               /."F:KM NLKGNGFFL
GFHOKNJNH   #( )A&';,-,"8)'9HIG                       /."F:KM NLKGNGFFL
GFHOKONKO   #( )A&';,-,"8)'9HIH                       /."F:KM NLKGNGFFL
GFIHMGKIM   #( )A&';,-,"8)'9G()(                      /."F:KM NLKGNGFFL
GFIHMIIOF   #( )A&';,-,"8)'9H()(                      /."F:KM NLKGNGFFL
GFINIHHNH   #( )A&';,-,"8)'9$*(<&#+/#.#(           /."F:KM NLKGNGFFL
GFJINOKOI   #( )A&';,-,"8)'9*)&3!)(.1*                /."F:KM NLKGNGFFL
GFOGIGGOO   #( )A&';,-,"8)'9HHK                       /."F:KM NLKGNGFFL
GGJJLNNOI   #( )A&';,-,"8)'9/&&.&-                 /."F:KM NLKGNGFFL
GGJMKKNNM   #( )A&';,-,"8)'9HHN                       /."F:KM NLKGNGFFL
GGJMONIKI   #( )A&';,-,"8)'9./,%3                     /."F:KM NLKGNGFFL
GGKINLHON   #( )A&';,-,"8)'9HFM                       /."F:KM NLKGNGFFL
GGKKINLNL   #( )A&';,-,"8)'9%(<&#+/#.#)(-           /."F:KM NLKGNGFFL
GGLFMLKIH   #( )A&';,-,"8)'9HIL                       /."F:KM NLKGNGFFL
GGLHJIIGO   #( )A&';,-,"8)'9HIM                       /."F:KM NLKGNGFFL
GGMIFNJFI   #( )A&';,-,"8)'9HHL                       /."F:KM NLKGNGFFL
GGMNFOKLI   #( )A&';,-,"8)'9<J<&.<" *12.0,1#!   /."F:KM NLKGNGFFL
GGOOMGMML   #( )A&';,-,"8)'9HNH                       /."F:KM NLKGNGFFL
GGOOMGNGF   #( )A&';,-,"8)'9HNN                       /."F:KM NLKGNGFFL
GGOOMOHMI   #( )A&';,-,"8)'9HOI                       /."F:KM NLKGNGFFL
GGOOMOIMK   #( )A&';,-,"8)'9HNL                       /."F:KM NLKGNGFFL
GHFILJMIG   #( )A&';,-,"8)'9HGF                       /."F:KM NLKGNGFFL
GHFLOHGIJ   #( )A&';,-,"8)'9HOF                       /."F:KM NLKGNGFFL
GHFMOFJLH   #( )A&';,-,"8)'9HIF                       /."F:KM NLKGNGFFL
GHGKLKOLN   #( )A&';,-,"8)'9                        /."F:KM NLKGNGFFL
             #( )A&';
GHIFFLIJJ   ,-,"8)'9<.#)<&.<%,$%)$ /**            /."F:KM NLKGNGFFL
GHLJGJOHO   #( )A&';,-,"8)'9HJF                       /."F:KM NLKGNGFFL
GHLOKGOOI   #( )A&';,-,"8)'9HIN                       /."F:KM NLKGNGFFL
             #( )A&';
GHLOKHIKF   ,-,"8)'9<HIN<H<&.<3('-)$4-            /."F:KM NLKGNGFFL
             #( )A&';
GHMFNFHFM   ,-,"8)'9<HIN<I<&.<,+)+ 21)            /."F:KM NLKGNGFFL
             #( )A&';
GHMGFFMOJ   ,-,"8)'9<HIN<J<&.<!+2$!',2#/&            /."F:KM NLKGNGFFL
             #( )A&';
GHMGFFOON   ,-,"8)'9<HIN<K<&.<(!/$//! (            /."F:KM NLKGNGFFL
             #( )A&';
GHMGFGGLN   ,-,"8)'9<HIN<L<&.<&'"&1'#-*! (            /."F:KM NLKGNGFFL
GHMGINLGO   #( )A&';,-,"8)'9'#                      /."F:KM NLKGNGFFL
             #( )A&';
GHMIIHKHG   ,-,"8)'9<GFN<&.<#1411%-1-,,              /."F:KM NLKGNGFFL
             #( )A&';
GHMKNKOFL   ,-,"8)'9<.-.<FH<&.<0$*'* , 4-/           /."F:KM NLKGNGFFL

                                                     
             Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 33 of 54




GHMMMHMKI   #( )A&';,-,"8)'9HLG                         /."F:KM NLKGNGFFL
GHMMMLMLK   #( )A&';,-,"8)'9HLH                         /."F:KM NLKGNGFFL
GHMNMFJNL   #( )A&';,-,"8)'9GFN<                    /."F:KM NLKGNGFFL
GHMNMFLMI   #( )A&';,-,"8)'95>?                     /."F:KM NLKGNGFFL
GHNKIJFGI   #( )A&';,-,"8)'9HLM                         /."F:KM NLKGNGFFL
GHNLGFIMM   #( )A&';,-,"8)'9HOM                         /."F:KM NLKGNGFFL
GHNLGIKOF   #( )A&';,-,"8)'9HGM                         /."F:KM NLKGNGFFL
GHNOGIOLI   #( )A&';,-,"8)'9HHM                         /."F:KM NLKGNGFFL
GHOFHHNOO   #( )A&';,-,"8)'9HKK<-)&(H                 /."F:KM NLKGNGFFL
GHOFHJHHK   #( )A&';,-,"8)'9HKL                         /."F:KM NLKGNGFFL
GHOFHJJOM   #( )A&';,-,"8)'9HKM                         /."F:KM NLKGNGFFL
GHOGNOFMJ   #( )A&';,-,"8)'9HKO                         /."F:KM NLKGNGFFL
GHOGOLMOH   #( )A&';,-,"8)'9HHH                         /."F:KM NLKGNGFFL
GHOGOMKMJ   #( )A&';,-,"8)'9HJO                         /."F:KM NLKGNGFFL
GHOHHHFNN   #( )A&';,-,"8)'9HGJ                         /."F:KM NLKGNGFFL
GHOHHMMLL   #( )A&';,-,"8)'9OJ                          /."F:KM NLKGNGFFL
GHOHIGJKK   #( )A&';,-,"8)'9<GHG<&.<(04-#*&-4/   /."F:KM NLKGNGFFL
GHOHKNOHM   #( )A&';,-,"8)'9HFJ                         /."F:KM NLKGNGFFL
GHOHMKLIN   #( )A&';,-,"8)'9HLO                         /."F:KM NLKGNGFFL
GHOJINLFF   #( )A&';,-,"8)'9HIO                         /."F:KM NLKGNGFFL
GHOJKLMIO   #( )A&';,-,"8)'9HKN                         /."F:KM NLKGNGFFL
GHOJLMHGG   #( )A&';,-,"8)'9HLK                         /."F:KM NLKGNGFFL
GHOJMJOJL   #( )A&';,-,"8)'9HLJ                         /."F:KM NLKGNGFFL
GHOJMMGMI   #( )A&';,-,"8)'9HLL                         /."F:KM NLKGNGFFL
GHOJNJHMO   #( )A&';,-,"8)'9HLN                         /."F:KM NLKGNGFFL
GHOJNKOHN   #( )A&';,-,"8)'9HMI                         /."F:KM NLKGNGFFL
GHOKFHKIM   #( )A&';,-,"8)'9HML                         /."F:KM NLKGNGFFL
GHOKFJOFF   #( )A&';,-,"8)'9HMM                         /."F:KM NLKGNGFFL
GHOKFONON   #( )A&';,-,"8)'9HMO                         /."F:KM NLKGNGFFL
             #( )A&';
GHOLFKNNF   ,-,"8)'9<HIN<M<&.<$,/""-"&,%              /."F:KM NLKGNGFFL
             #( )A&';
GHOLFKOGJ   ,-,"8)'9<HIN<N<&.<-(*(!!-"              /."F:KM NLKGNGFFL
             #( )A&';
GHOLFLOLN   ,-,"8)'9<HIN<O<&.<+&0.0#")4./              /."F:KM NLKGNGFFL
GHOLJLKJJ   #( )A&';,-,"8)'9HIN<G                       /."F:KM NLKGNGFFL
GHONIKHLG   #( )A&';,-,"8)'9HJK                         /."F:KM NLKGNGFFL
GHONIKIOM   #( )A&';,-,"8)'9HOG                         /."F:KM NLKGNGFFL
GHONIKJNH   #( )A&';,-,"8)'9HOK                         /."F:KM NLKGNGFFL
GHOOKGHFG   #( )A&';,-,"8)'9G                           /."F:KM NLKGNGFFL
             #( )A&';
GIFMFMOKL   ,-,"8)'9<GHH<&.<2'1(/)" $2&                /."F:KM NLKGNGFFL
GIFOHKNHN   #( )A&';,-,"8)'9-,/',,#*.                 /."F:KM NLKGNGFFL
GIGJFLMKN   #( )A&';,-,"8)'9HNI                         /."F:KM NLKGNGFFL


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             Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 34 of 54




GIGJGFHOJ   #( )A&';,-,"8)'9HNG                         /."F:KM NLKGNGFFL
GIGJGMLKK   #( )A&';,-,"8)'9HLI                         /."F:KM NLKGNGFFL
GIGLGKIIG   #( )A&';,-,"8)'9'.".)%(                   /."F:KM NLKGNGFFL
GIGMFLOLG   #( )A&';,-,"8)'9!-..&'(.               /."F:KM NLKGNGFFL
GIINONFHI   #( )A&';,-,"8)'9HKI                         /."F:KM NLKGNGFFL
GJFIHFNLG   #( )A&';,-,"8)'9GFG<GFH< I                /."F:KM NLKGNGFFL
GJFJKKFHK   #( )A&';,-,"8)'9'.'-%<&(/*             /."F:KM NLKGNGFFL
GJFKIJJNI   #( )A&';,-,"8)'9MK                          /."F:KM NLKGNGFFL
GJGFINMKJ   #( )A&';,-,"8)'9J                           /."F:KM NLKGNGFFL
GJGHJKIHG   #( )A&';,-,"8)'9<)/(.,*,.#-           /."F:KM NLKGNGFFL
GJMJKGFFG   #( )A&';,-,"8)'9<IGG<&.<(3,3$3$'3   /."F:KM NLKGNGFFL
GJMKNFLLF   #( )A&';,-,"8)'9HNJ                         /."F:KM NLKGNGFFL
GJMKNFLOJ   #( )A&';,-,"8)'9HNM                         /."F:KM NLKGNGFFL
GJNIMNGJM   #( )A&';,-,"8)'9HKF                         /."F:KM NLKGNGFFL
GJOLNFNMJ   #( )A&';,-,"8)'9HGL                         /."F:KM NLKGNGFFL
GKFGIJFOJ   #( )A&';,-,"8)'9IGH                         /."F:KM NLKGNGFFL
GKFLHLILI   #( )A&';,-,"8)'9HLF                         /."F:KM NLKGNGFFL
GKFLHLINF   #( )A&';,-,"8)'9HOL                         /."F:KM NLKGNGFFL
GKFLHLOFM   #( )A&';,-,"8)'9IGK                         /."F:KM NLKGNGFFL
GKFLHMHGI   #( )A&';,-,"8)'9HJJ                         /."F:KM NLKGNGFFL
GKFLHMLMH   #( )A&';,-,"8)'9IGF                         /."F:KM NLKGNGFFL
GKFLHNFNF   #( )A&';,-,"8)'9HKG                         /."F:KM NLKGNGFFL
GKFLHNHGL   #( )A&';,-,"8)'9HON                         /."F:KM NLKGNGFFL
GKFLHNNLH   #( )A&';,-,"8)'9HJL                         /."F:KM NLKGNGFFL
GKGKFILOO   #( )A&';,-,"8)'9ON                          /."F:KM NLKGNGFFL
GKHNJJJMH   #( )A&';,-,"8)'9'(/&<&*                   /."F:KM NLKGNGFFL
GKIIGGKNG   #( )A&';,-,"8)'9IFM                         /."F:KM NLKGNGFFL
GKIJMLHHL   #( )A&';,-,"8)'9IOO                         /."F:KM NLKGNGFFL
GKINJOMGL   #( )A&';,-,"8)'9HFL                         /."F:KM NLKGNGFFL
GKJJGIONF   #( )A&';,-,"8)'90)3!,<)&&.               /."F:KM NLKGNGFFL
GKJKOJLMI   #( )A&';,-,"8)'9-)&<-.%#(!                  /."F:KM NLKGNGFFL
GKJMFMINI   #( )A&';,-,"8)'9."<IKF;IKJ                 /."F:KM NLKGNGFFL
             #( )A&';,-,"8)'9<."<IKK;
GKJMFOGGM   IKN<&.<3$0,! 1"%3                                /."F:KM NLKGNGFFL
GKJMFOKFN   #( )A&';,-,"8)'9."<IKO;ILH                 /."F:KM NLKGNGFFL
GKJMHGKHM   #( )A&';,-,"8)'9IKM                         /."F:KM NLKGNGFFL
GKJMIFHGJ   #( )A&';,-,"8)'9IKN                         /."F:KM NLKGNGFFL
GKJMIFLFK   #( )A&';,-,"8)'9IKN<G                       /."F:KM NLKGNGFFL
GKJMIFNOJ   #( )A&';,-,"8)'9IKJ                         /."F:KM NLKGNGFFL
GKJMIGGIH   #( )A&';,-,"8)'9IKI                         /."F:KM NLKGNGFFL
GKJMILHGK   #( )A&';,-,"8)'9ILG                         /."F:KM NLKGNGFFL
GKJOJFGIF   #( )A&';,-,"8)'9'(/&<&*<H                 /."F:KM NLKGNGFFL
GKKGHFFJG   #( )A&';,-,"8)'9IGJ                         /."F:KM NLKGNGFFL
GKLNJKIMG   #( )A&';,-,"8)'9IFN                         /."F:KM NLKGNGFFL

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             Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 35 of 54




GKMKLMKJN   #( )A&';,-,"8)'9I()(=3#.<>               /."F:KM NLKGNGFFL
GKMKLMMKH   #( )A&';,-,"8)'9J()(=3#.<>               /."F:KM NLKGNGFFL
GKMNGHNMK   #( )A&';,-,"8)'9).GI<&*<*.3               /."F:KM NLKGNGFFL
GKMNOKMGL   #( )A&';,-,"8)'9'(!)<-..&'(.             /."F:KM NLKGNGFFL
GKNJJMIIH   #( )A&';,-,"8)'9K()(=3#.<>               /."F:KM NLKGNGFFL
GKNMJNJFH   #( )A&';,-,"8)'9()(-)&GG                    /."F:KM NLKGNGFFL
GKNMJNJGO   #( )A&';,-,"8)'9()(-)&GI                    /."F:KM NLKGNGFFL
GKOMHOFGI   #( )A&';,-,"8)'9&'= >               /."F:KM NLKGNGFFL
GKONLNGOH   #( )A&';,-,"8)'9()(/<FG                   /."F:KM NLKGNGFFL
GKONOHGMO   #( )A&';,-,"8)'9*.,                        /."F:KM NLKGNGFFL
GLFOIGJMJ   #( )A&';,-,"8)'9)&<,HF<,--<--#!(   /."F:KM NLKGNGFFL
GLGHJLLIM   #( )A&';,-,"8)'93."<-/                     /."F:KM NLKGNGFFL
GLGKGKLHN   #( )A&';,-,"8)'9#(((#($                 /."F:KM NLKGNGFFL
GLGKGNIIG   #( )A&';,-,"8)'9#((1"#,&                 /."F:KM NLKGNGFFL
GLGKGNOMM   #( )A&';,-,"8)'9&)<-/                      /."F:KM NLKGNGFFL
GLGKKGGMK   #( )A&';,-,"8)'9-.&<-/                   /."F:KM NLKGNGFFL
GLGKKGHOJ   #( )A&';,-,"8)'9-.&<-/<-#!               /."F:KM NLKGNGFFL
GLGLKINKK   #( )A&';,-,"8)'9-)&<-.%#(!FH                /."F:KM NLKGNGFFL
GLGLLLGOM   #( )A&';,-,"8)'9()(<FI                      /."F:KM NLKGNGFFL
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              GHLIKIF    <,'*.#)(
              GHLIIMM    <,'*.#)(
              GJOIOJN    
              GHLIJJK   <,'*.#)(
              GHLIKJM   <,'*.#)(
              GHLIIOJ    <,'*.#)(
              GHLIKGI    <,'*.#)(
              GHLIIHL    <,'*.#)(
              GHLIIJI   <,'*.#)(
              GHLIIFO    <,'*.#)(
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              GHLIILF     <,'*.#)(
              GHLIJOL   <,'*.#)(
              GHLNFGN    <,'*.#)(
              GHLNGHF    <,'*.#)(

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 36 of 54




GHLNGKJ   <,'*.#)(
GHLMONJ    <,'*.#)(
GHLNFKH   <,'*.#)(
GHLNFNL    <,'*.#)(
GHLHOLO   G
GHLHOFG   I
      K    G
GHLHNKF   I
GHLHOGN   G
GHLHNLM   G
      G   I
      J    I
GHLHOIK   I
      H   G
GHMJJMN     
GHLNFIK   
      L    I
GHLHOKH   I
GHLHNNJ   I
GHLNFLO    
GHLHONL   I
      I   I
GHLNGIM   
GHLNFFG    
GHLNGFI    
GHLMOLM    
    ;GF    /(#(!<*3'(.-< #2<HFGOFKIF
GHMJKGH     
GHMJKHO     <,'*.#)(
GHMJJOK     <,'*.#)(
GHMJKLI    <,'*.#)(
GHMJKJL    
GHMNGGL     
GHMNGNJ    
GHMNGLM    <,'*.#)(
GHMNGKF    
GHMNGII     <,'*.#)(
GHMNHFG    <,'*.#)(
GHMOJJH     
GHMOJKO     <,'*.#)(
GHMOJFN     
GHMOJML    
GHMOJOI    <,'*.#)(
GHMOJHK     <,'*.#)(

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 37 of 54




GHNIIGN     <,'*.#)(
GHNIHLM     
GHNIIFG     
GHNIIIK    
GHNIHNJ     <,'*.#)(
GHNIIKH    <,'*.#)(
GHNNHJN    
GHNNHLK    <,'*.#)(
GHNNHNH   
GHNNHGJ    
GHNNHIG    <,'*.#)(
GHNNHOO   <,'*.#)(
GHOHGMK     
GHOHHFO     
GHOHHHL     <,'*.#)(
GHOHGOH     <,'*.#)(
GHOHHJI    
GHOHHLF    <,'*.#)(
GIHNKIN    
GIHNKFJ     
GIHNJNM     <,'*.#)(
GIHNJMF     
GIHNKHG     <,'*.#)(
GIHNKKK    <,'*.#)(
GIKLFJJ     
GIKLFMN     
GIKLGGH    
GIKLGHO    <,'*.#)(
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GJGGGFM    ..</(&)%,
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GJKOKJF      
GJLHIGG     
GJLHIHN     <,'*.#)(
GJLHIJK    
GJLHILH    <,'*.#)(
GJLHHOJ     <,'*.#)(
GJLHHMM     
GJKOKOG      <,'*.#)(
GJKOKMJ      
GJKOLFN     
GJKOKKM      <,'*.#)(

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 38 of 54




GJKOLHK    <,'*.#)(
GJMJLKI    
GJMGIHG   2.,<,&#4<*(&
GJMGJKM   )/&<)/(.<"#!"<&0< -
GJOIOLK    <,'*.#)(
GJOIONH    
GJOJFGL    
GJOIOOO    <,'*.#)(
GJOJFII    <,'*.#)(
GJOJFKF    
GJMJKNK     
GJMJLGO    
GJMJLIL    <,'*.#)(
GJMJLFH     <,'*.#)(
GJMJLNM    
GJMJMHG    
GJMJMIN    <,'*.#)(
GJMJMKK   
GJMJMFJ    <,'*.#)(
GJMJMMH   <,'*.#)(
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GJOJFLM    <,'*.#)(
GJOJFNJ    
GJOJGFG    <,'*.#)(
GJOJGGN   
GJOJGLO   <,'*.#)(
GJOJGNL    
GJOJGIK   <,'*.#)(
GJOJGKH   
GJOJHFI    <,'*.#)(
GJOJHIM    <,'*.#)(
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GJOJHNN    
GJOJHKJ    
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GJOJIKL    
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GJOJJFM    <,'*.#)(
GJOJIOF    
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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 39 of 54




GJOJJKN    
GJOJJOH    
GJOJJMK    <,'*.#)(
GJOJKFO    <,'*.#)(
GJOJKHL    
GJOJKJI    <,'*.#)(
GJOJKLF    
GJOJKMM    <,'*.#)(
GJOJKOJ   
GJOJLGG   <,'*.#)(
GJOJLHN   
GJOJLJK   <,'*.#)(
GJOIIMF   
GJOIINM   <,'*.#)(
GJOIJFJ   
GJOIJIN    
GJOIJHG   <,'*.#)(
GJOIJKK    <,'*.#)(
GJOIJMH    
GJOIJNO    <,'*.#)(
GJOIKFL   
GJOIKJF   
GJOIKHI   <,'*.#)(
GJOIKOG   <,'*.#)(
GJOIKMJ   
GJOIKKM   <,'*.#)(
GJOILFN   
GJOILHK   <,'*.#)(
GJOILJH   
GJOILML   
GJOILKO   <,'*.#)(
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GJOIMGF   
GJOIMJJ   
GJOIMLG   <,'*.#)(
GJOIMHM   <,'*.#)(
GJOINHO   <,'*.#)(
GJOIMMN   
GJOINJL    
GJOIMOK   <,'*.#)(
GJOINGH   
GJOINLI    <,'*.#)(
GJOINNF    
GJOINOM    <,'*.#)(

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 40 of 54




GJOIOGJ    
GJOIOIG    <,'*.#)(
GLGINJO     
GLIKGGL   
GLIKGII   <,'*.#)(
GLIKGKF    
GLIKGNJ    
GLIKHFG    <,'*.#)(
GLIKHGN   
GLIKHIK   <,'*.#)(
GLIKHKH   
GLIKHLO   <,'*.#)(
GLIKGLM    <,'*.#)(
GLGINNI      
GLGIOGM     
GLGIOIJ     <,'*.#)(
GLGIOKG     
GLGIONK     
GLGINLL     <,'*.#)(
GLGJFFH     <,'*.#)(
GLGIOFF      <,'*.#)(
GLGIOLN     <,'*.#)(
GLINLGN    <,'*.#)(
GLINLLO     
GLINLNL     <,'*.#)(
GLINLFG    
GLINLIK     
GLINMHF    <,'*.#)(
GLINMFI    
GLINMIM    
GLINMKJ    <,'*.#)(
GLINLKH     <,'*.#)(
GLJHLIF   
GLJKLKL   
GLJKLMI   <,'*.#)(
GLJKMHJ    
GLJKMJG    <,'*.#)(
GLJKLOF    
GLJKMKN   
GLJKMFM    <,'*.#)(
GLJKNFO   <,'*.#)(
GLJKMOH   
GLJKMMK   <,'*.#)(
GLJHLLJ    

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 41 of 54




GLJHLJM   <,'*.#)(
GLJHLNG    <,'*.#)(
GLJHLON    
GLJHMGK    <,'*.#)(
GLJHMIH   
GLJHMJO   <,'*.#)(
GLJHMLL   
GLJHMNI   <,'*.#)(
GLLGKLN   
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GLKGIIJ   ,'*.#)(-<HFGOGFHL
GLLGLFH    
GLLGLIL    
GLLGLMF   
GLLGLNM   <,'*.#)(
GLLGKNK   <,'*.#)(
GLLGLGO    <,'*.#)(
GLLGLKI    <,'*.#)(
GLLGMFJ   
GLLGMHG   <,'*.#)(
GMKFHOG   
GMKFIJH    <,'*.#)(
GMKFIFN   <,'*.#)(
GMKFIHK    
GMKFIKO    
GMKFIML    <,'*.#)(
GMKFIOI   
GMKFJHM   
GMKFJJJ   <,'*.#)(
GMKFJGF   <,'*.#)(
GMHOFFM   
GMHOFJG    
GMHOFHJ   <,'*.#)(
GMHOFMK    
GMHOFOH    <,'*.#)(
GMHOGFO   
GMHOGLF   <,'*.#)(
GMHOGJI   
GMHOFKN    <,'*.#)(
GMHOGHL   <,'*.#)(
GMOIKMI   
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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 42 of 54




GMOILKN    <,'*.#)(
GMOILMK   
GMOIKOF   <,'*.#)(
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GMOILHJ    <,'*.#)(
GMOILOH   <,'*.#)(
GNGHJLF   /!HFGOGFHK
GNJOKIM    
GNJOKMG    
GNJOLFK   
GNJOKKJ    <,'*.#)(
GNJOKNN    <,'*.#)(
GNJOLHH   <,'*.#)(
GOKMNGF    
GOOIHFJ   *H<&.
GOKMNOK   <,'*.#)(
GOKMNMN   
GOKMNHM    <,'*.#)(
GOKMNLG    <,'*.#)(
GOKMNJJ    
HHKFMIM     <,'*.#)(
HHKFMKJ     
HHKFMMG     <,'*.#)(
HHKFMHF     
HHKFNFK    <,'*.#)(
HHKFMNN    
HJNHKJO    
HJNHKNI    
HJNHLFF    <,'*.#)(
HJNHLGM   
HJNHKLL    <,'*.#)(
HJNHLIJ   <,'*.#)(
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HKLMOJF    I<,'*.#)(
HKLMOKM   I
HKLMOMJ   I<,'*.#)(
HKLMOOG    I
HKLNFFN    I<,'*.#)(
HKLNFHK    I
HKLNFJH    I<,'*.#)(
HKLNFKO    I
HKLNFML    I<,'*.#)(
HKLNFOI   I
HKLNGGF   I<,'*.#)(

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 43 of 54




HNLFFLN     
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HNLFGFH     
HNLFGGO     <,'*.#)(
HNLFGIL     
HNLFGKI     <,'*.#)(
HNLFGMF     
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HNLFHIN     
HNLFHKK     <,'*.#)(
HNLFHMH     
HNLFHNO     <,'*.#)(
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HNLFIJF     
HNLFIKM     <,'*.#)(
HNLFIMJ      
HNLFIOG      <,'*.#)(
HNLFJFN      
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HNLFJJH     
HNLFJKO     <,'*.#)(
HNLFJML      
HNLFJOI      <,'*.#)(
HNLFKGF      
HNLFKHM      <,'*.#)(
HNLFKJJ      
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HNLFKMN      
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HNLFLJL     
HNLFLLI     <,'*.#)(
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HNLFLOM     <,'*.#)(
HNLFMGJ       
HNLFMIG       <,'*.#)(
HNLFMJN     
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HNLFMNH      
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HNLFNGL     

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 44 of 54




HNLFNII     <,'*.#)(
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HNLFNLM     <,'*.#)(
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HNLFOGN     
HNLFOIK     <,'*.#)(
HNLFOKH     
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HNLFONL     
HNLGFFI     <,'*.#)(
HNLGFHF     
HNLGFIM     <,'*.#)(
HNLGFKJ     
HNLGFMG     <,'*.#)(
HNLGFNN      
HNLGGFK      <,'*.#)(
HNLGGHH     
HNLGGIO     <,'*.#)(
HOGNFIN     
HOGNFFJ    
HOGNFKK     <,'*.#)(
HOGNFHG    <,'*.#)(
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IHGJOFO     
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IHGJOJI     
IHGJOLF     <,'*.#)(
IHGJOMM    
IHGJOOJ    <,'*.#)(
IHGKFGG      
IHGKFHN      <,'*.#)(
IHJJFJM   -*).< -<*(&
IIJLKJF     
IIJLKKM     <,'*.#)(
IIJLKMJ     
IIJLKOG     <,'*.#)(
IIJLLHK    <,'*.#)(
IIJLLJH      
IIJLLKO      <,'*.#)(
IIJLLFN    
IJGLHOG     
IJGLIFN     <,'*.#)(

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 45 of 54




IJGLIHK    
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IJGLIOI     
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IJHLLLG    
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IJHLMLI     
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IJHLNGJ    <,'*.#)(
IJHLNIG    
IJHLNJN    <,'*.#)(
IJHLNLK   
IJHLNNH   <,'*.#)(
IJHLNOO     
IJHLOGL     <,'*.#)(
IKOMOGO     
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ILKFMKK     
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ILKFNHI      
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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 46 of 54




ILOJJMO     <,'*.#)(
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IMIOFFH    
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IMIOFKI   <,'*.#)(
IMIOFMF     
IMIOFNM     <,'*.#)(
IMMMFIG    
IMMMFJN    <,'*.#)(
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IMMMFNH    <,'*.#)(
IMMMFOO   
IMMMGGL   <,'*.#)(
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IMMMGKF     <,'*.#)(
INLOFKH   .)%(<!,)/*<)/(.,*,.3
JJIMMFH   -,/'<'#(.,
JMFJGJI     
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JMFJGMM     
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JMFJHGG    
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JMFJHJK      
JMFJHLH      <,'*.#)(
JNLMNGO   -*&<.)%(<")&,
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JONHNMK     
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JONHOFO    
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JONHOJI    
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LIJIFJK   -.%#(!<*3,<
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LIJIGGI   -.%#(!<*3,<
LJGGHNI   ),*),.<.#)(-

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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 47 of 54




 LKIFFMO   -.%#(!<*3,<
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 LNNFJLL   '*-</(&)%,
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 LNNNLMM    #</(&)%,
 LONIKKJ   -,'<)&
 MGLNFNO    
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 MGNJLON   -.%#(!<*3,< 
 MKHMLFK   ,0,.<&)%<,1,-
 NHNGKKK    <,'*.#)(
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 OGNFMMF   #,&< <,.<)/(.
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GGIMNKON   #,&<"<1#.",1&-
GIGIGILL   -.%#(!<*3,< 
GJIJMGNO   -1#*
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GKFOMGJJ   -.%#(!<*3,<
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GKOOJFJM   ,4<,&<)(0,-#)(
GLOFNMNI   1/-.</-.<)(0,-#)(
GMGIOOGK   .<)&
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GMKNNMIH    
GMKNNMJO    <,'*.#)(
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 Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 48 of 54




 GMKNNNLN    
 GMKNNNNK    <,'*.#)(
 GMKNNOFH   
 GMKNNOGO   <,'*.#)(
 GNFJHIHL   1&&.<.,(- ,-
 GNGHGKOM   0<&(<)(0,-#)(
 HFGJJHJF   -<)#(<)(0,-#)(
 HGKFOHFJ    .2*3
 HGMGLFMM   HFHG
 HGMGLFFO   HFHG
 HGMGLFHL   HFHG<,'*.#)(
 HGMGLFJI    HFHG
 HGMGLFLF    HFHG<,'*.#)(
 HGMGLFOJ   HFHG<,'*.#)(
 HOKGLNII   #,&<*)-#.<0,# #.#)(
 IHGKNLNJ     
 IHGKNMFG     <,'*.#)(
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 IHGKNMIK    <,'*.#)(
 IHJKKKHG     
 IHJKKKIN     <,'*.#)(
 IHJKKKKK    
 IHJKKKMH    <,'*.#)(
 IHNHGIJJ   (0<)(0,-#)(
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 IMOIHLGK    .2*3<,)..#(!<,---
 JFMIOKFH   ( .<&#-.#(!< -
 JGKOFOGI   &#+/#.#)(-HFHGFOFM
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 JMKJGMJL   ( .<,)3&.#-
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 KIINMLNO   ( .<'#(.#(!< -
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 OOLINFOI   $*<()(1"#.&#-.<)&
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GGFFILOKO   ")&#(!< ,)4(< /(-< ),<1),&-"GA*,).)('#&8)'
GGLGIFFJN    .27'#(:*H*<-,)1
GGLGIFFLK   -.)%-<'<)/(.
GHIIFIJKI   -.,#*
GHIONFKLI   -.,#*<'

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           Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 49 of 54




          GHJFJLMHM   .,,<#,,)*
          GHLHGGHNL   '4(<)(0,-#)(
          GJLLJKMLH   -.,#*<
          GJHMMLOMF   -.)%<),<.)%(<-*&#.<)(0,-#)(
          GKIOKOLHG       
          GKIOKOLIN       <,'*.#)(
          GKIOKOLKK      
          GKIOKOLMH      <,'*.#)(
          GKLJJKKJN    
          GKLJJKKLK    <,'*.#)(
          GKLJJKKNH   
          GKLJJKKOO   <,'*.#)(
          GKLJJKLGL     
          GKLJJKLII     <,'*.#)(
          GKLJJKLLM    <,'*.#)(
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          GKMNNOKOL   ).GI<#(-/,(< /(<,#0<."(<,')0<&(-
          GKNIJGNON   -.)%-<,0(/<)/(.
          GKNIJGOGK   -.&)#(<,'*.#)(
          GKNJMGOJN   *,)').#)(&<*3)/.<)/(.
          GKNMIGIFF   ,1,-<*3,
          GKOJOFKMG   )<,'*.#)(<2*(--
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       GNKLIFI     #.A .28)'
     GIHIFHNMO     #.A .28)'9(%<)/(.<GLL
     GIHIFJGHF     #.A .28)'9(%<)/(.<LL
     GIHIFJGIM     #.A .28)'9(%<)/(.<MK
     GIHIFJGKJ     #.A .28)'9(%<)/(.<MJ
     GIHIFJGMG     #.A .28)'9(%<)/(.<MI
     GIHIFJGNN     #.A .28)'9(%<)/(.<LI
     GIHIFJHFK     #.A .28)'9(%<)/(.<ML
     GIHIFJHHH     #.A .28)'9(%<)/(.<NI
     GIHIFJHIO     #.A .28)'9(%<)/(.<NH
     GIHIFJHKL     #.A .28)'9(%<)/(.<NG
     GIHIFJHMI     #.A .28)'9(%<)/(.<GIK
     GIHIFJHOF     #.A .28)'9(%<)/(.<GII
     GIHIFJIFM     #.A .28)'9(%<)/(.<NM

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    Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 50 of 54




GIHIFJIHJ   #.A .28)'9(%<)/(.<NL
GIHIFJIJG   #.A .28)'9(%<)/(.<NK
GIHIFJIKN   #.A .28)'9(%<)/(.<NJ
GIHIFJIMK   #.A .28)'9(%<)/(.<GIM
GIHIFJIOH   #.A .28)'9(%<)/(.<GIL
GIHIFJJFO   #.A .28)'9(%<)/(.<GIJ
GIHIFJJHL   #.A .28)'9(%<)/(.<GIO
GIHIFJJJI   #.A .28)'9(%<)/(.<GIN
GIHIFJJLF   #.A .28)'9(%<)/(.<GJF
GIHIFJJMM   #.A .28)'9(%<)/(.<GJH
GIHIFJJOJ   #.A .28)'9(%<)/(.<LG
GIHIFJLIF   #.A .28)'9(%<)/(.<GKJ
GIHIFJLLJ   #.A .28)'9(%<)/(.<GKL
GIHIFJLON   #.A .28)'9(%<)/(.<GLI
GIHIFJKGG   #.A .28)'9(%<)/(.<GJL
GIHIFJKHN   #.A .28)'9(%<)/(.<KL
GIHIFJKJK   #.A .28)'9(%<)/(.<MM
GIHIFJKLH   #.A .28)'9(%<)/(.<MO
GIHIFJLJM   #.A .28)'9(%<)/(.<GKK
GIHIFJLNG   #.A .28)'9(%<)/(.<GMH
GIHIFJMGK   #.A .28)'9(%<)/(.<GLJ
GIHIFJMIH   #.A .28)'9(%<)/(.<GLK
GIHIFJMJO   #.A .28)'9(%<)/(.<GMG
GIHIFJMLL   #.A .28)'9(%<)/(.<GMK
GIHIFJKMO   #.A .28)'9(%<)/(.<GJG
GIHIFJKOL   #.A .28)'9(%<)/(.<GJM
GIHIFJLGI   #.A .28)'9(%<)/(.<GJN
GIHIFJOIL   #.A .28)'9(%<)/(.<GOF
GIHIFJOMF   #.A .28)'9(%<)/(.<GOH
GIHIFJONM   #.A .28)'9(%<)/(.<GOI
GIHIFKFFJ   #.A .28)'9(%<)/(.<GOJ
GIHIFKFHG   #.A .28)'9(%<)/(.<GOK
GIHIFKFIN   #.A .28)'9(%<)/(.<GOL
GIHIFKFKK   #.A .28)'9(%<)/(.<GOM
GIHIFJMNI   #.A .28)'9(%<)/(.<GML
GIHIFJNFF   #.A .28)'9(%<)/(.<GNH
GIHIFJNGM   #.A .28)'9(%<)/(.<GNI
GIHIFJNIJ   #.A .28)'9(%<)/(.<GNJ
GIHIFJNKG   #.A .28)'9(%<)/(.<GNK
GIHIFJNLN   #.A .28)'9(%<)/(.<GNL
GIHIFJNNK   #.A .28)'9(%<)/(.<GNM
GIHIFJOFH   #.A .28)'9(%<)/(.<GNN
GIHIFJOGO   #.A .28)'9(%<)/(.<GNO
GIHIFJOKI   #.A .28)'9(%<)/(.<GOG

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    Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 51 of 54




GIHIFKFMH   #.A .28)'9(%<)/(.<GON
GIHIFKFNO   #.A .28)'9(%<)/(.<GOO
GIHIFKGFL   #.A .28)'9(%<)/(.<HFF
GIHIFKGHI   #.A .28)'9(%<)/(.<HFI
GIHIFKGJF   #.A .28)'9(%<)/(.<HFG
GIHIFKGKM   #.A .28)'9(%<)/(.<HFH
GIHIFKGMJ   #.A .28)'9(%<)/(.<HFJ
GIHIFKGOG   #.A .28)'9(%<)/(.<HHI
GIHIFKHFN   #.A .28)'9(%<)/(.<HFL
GIHIFKHHK   #.A .28)'9(%<)/(.<HFM
GIHIFKHJH   #.A .28)'9(%<)/(.<HFN
GIHIFKHKO   #.A .28)'9(%<)/(.<HFO
GIHIFKHML   #.A .28)'9(%<)/(.<HGF
GIHIFKHOI   #.A .28)'9(%<)/(.<HGG
GIHIFKIGF   #.A .28)'9(%<)/(.<GMI
GIHIFKIHM   #.A .28)'9(%<)/(.<HGN
GIHIFKIJJ   #.A .28)'9(%<)/(.<HHF
GIHIFKILG   #.A .28)'9(%<)/(.<HHG
GIHIFKIMN   #.A .28)'9(%<)/(.<HHH
GIHIFKIOK   #.A .28)'9(%<)/(.<HHJ
GIHIFKJGH   #.A .28)'9(%<)/(.<HHK
GIHIFKJHO   #.A .28)'9(%<)/(.<HHL
GIHIFKJLI   #.A .28)'9(%<)/(.<HHM
GIHIFKJNF   #.A .28)'9(%<)/(.<HHN
GIHIFKJOM   #.A .28)'9(%<)/(.<HHO
GIHIFKKGJ   #.A .28)'9(%<)/(.<HIF
GIHIFKKIG   #.A .28)'9(%<)/(.<HIG
GIHIFKKJN   #.A .28)'9(%<)/(.<HIH
GIHIFKKLK   #.A .28)'9(%<)/(.<HII
GIHIFKKNH   #.A .28)'9(%<)/(.<HIJ
GIHIFKKOO   #.A .28)'9(%<)/(.<HIK
GIHIFKLGL   #.A .28)'9(%<)/(.<HIL
GIHIFKLII   #.A .28)'9(%<)/(.<HIM
GIHIFKLKF   #.A .28)'9(%<)/(.<HIN
GIHIFKLLM   #.A .28)'9(%<)/(.<HJG
GIHIFKLNJ   #.A .28)'9(%<)/(.<HJH
GIHIFKMFG   #.A .28)'9(%<)/(.<HJI
GIHIFKMGN   #.A .28)'9(%<)/(.<HJJ
GIHIFKMIK   #.A .28)'9(%<)/(.<HLI
GIHIFKMKH   #.A .28)'9(%<)/(.<GMJ
GIHIFKMLO   #.A .28)'9(%<)/(.<HLH
GIHIFKMNL   #.A .28)'9(%<)/(.<HLJ
GIHIFKNFI   #.A .28)'9(%<)/(.<HLM
GIHIFKNHF   #.A .28)'9(%<)/(.<HLN

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        Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 52 of 54




    GIHIFKNIM   #.A .28)'9(%<)/(.<HLO
    GIHIFKNKJ   #.A .28)'9(%<)/(.<HMG
    GIHIFKNMG   #.A .28)'9(%<)/(.<HMH
    GIHIFKNNN   #.A .28)'9(%<)/(.<HMI
    GIHIFKOFK   #.A .28)'9(%<)/(.<HMJ
    GIHIFKOHH   #.A .28)'9(%<)/(.<HMK
    GIHIFKOIO   #.A .28)'9(%<)/(.<HML
    GIHIFKOKL   #.A .28)'9(%<)/(.<HMM
    GIHIFKOMI   #.A .28)'9(%<)/(.<HMN
    GIHIFKOOF   #.A .28)'9(%<)/(.<HMO
    GIHIFLFFM   #.A .28)'9(%<)/(.<HNF
    GIHIFLFHJ   #.A .28)'9(%<)/(.<HNG
    GIHIFLFJG   #.A .28)'9(%<)/(.<HJF
    GIHIFLFKN   #.A .28)'9(%<)/(.<HIO
    GIHIFLFMK   #.A .28)'9(%<)/(.<HGO
    GIHIFLFOH   #.A .28)'9(%<)/(.<HOO
    GIHIFLGFO   #.A .28)'9(%<)/(.<IFF
    GIHIFLGHL   #.A .28)'9(%<)/(.<IFG
    GIHIFLGJI   #.A .28)'9(%<)/(.<IFH
    GIHIFLGLF   #.A .28)'9(%<)/(.<HGI
    GIHLGIJIK   #.A .28)'9(%<)/(.<ILN
    GIHLGIJKH   #.A .28)'9(%<)/(.<HGJ
    GIHLGIJGN   #.A .28)'9(%<)/(.<ILK
    GIHLGIJLO   #.A .28)'9(%<)/(.<HON
    GIHLGIKHF   #.A .28)'9(%<)/(.<GKN
    GIHLGIKMG   #.A .28)'9(%<)/(.<GLF
    GIHLGIKNN   #.A .28)'9(%<)/(.<ILO
    GIHLGILFK   #.A .28)'9(%<)/(.<ILL
    GIHLGILKL   #.A .28)'9(%<)/(.<ILM
    GIMGKIMGF   #.A .28)'9(%<)/(.<ILJ
    GJLLNGKON   #.A .28)'9/(--#!(< #.<1#.",1&< -
    GJGLJIHMJ   #.A .28)'9(%<)/(.<IIG
    GJGLJIIHK   #.A .28)'9(%<)/(.<IIJ
    GJGLJIJOK   #.A .28)'9(%<)/(.<IIH
    GJGLJILLK   #.A .28)'9(%<)/(.<IFI
    GJGLJJIHN   #.A .28)'9(%<)/(.<III
    GJOJJHJNI   #.A .28)'9/(#(#.#&#4<(%<)/(.<)/(.
    GJOJJJHIJ   #.A .28)'9(%<)/(.<GMM
    GKGGJJFON   #.A .28)'9(%<)/(.< -<GMM
    GKGIIFOMO   #.A .28)'9(%<)/(.< -<GKN
    GKNIJNMNI   #.A .28)'9(%<)/(.<GLG
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Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 53 of 54




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           @.6>/4826,70/,,8/'*19;66948<
               Case 1:22-cr-00673-LAK Document 328-1 Filed 10/23/23 Page 54 of 54




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
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